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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NORTH DAKOTA


                                                        Case No.: 17-30112
Vanity Shop of Grand Forks, Inc.,
                                                        Chapter 11
                      Debtor.


                FIRST SUPPLEMENT TO DEBTOR’S PLAN OF LIQUIDATION
                             DATED NOVEMBER 22, 2017


       Vanity Shop of Grand Forks, Inc. (“Debtor”), debtor-in-possession in the above-captioned

Chapter 11 case, hereby files this First Supplement to Debtor’s Plan of Liquidation Dated November 22,

2017 (“First Plan Supplement”).

       1.     The documents contained in the Plan Supplement are integral to, part of, and

incorporated by reference into Debtor’s Plan of Liquidation Dated November 22, 2017 (“Plan”) [Doc.

511]. However, these documents have not yet been approved by the Bankruptcy Court. If the Plan is

approved, the documents contained in the First Plan Supplement will be approved by the Bankruptcy

Court pursuant to the Order confirming the Plan.

       2.     The hearing on approval of the Debtor’s Disclosure Statement is set for Tuesday, March

27, 2018, at 2:00 p.m., before the Honorable Shon Hastings, United States Bankruptcy Judge, at the

United States Court for the District of North Dakota, Quentin N. Burdick U.S. Courthouse, Courtroom

#3, Second Floor, 655 First Avenue North, Fargo, North Dakota [Doc. 510].

       3.     Upon approval of the Disclosure Statement, a hearing to consider confirmation of the

Plan (and in conjunction therewith approval of the First Plan Supplement) (the “Confirmation

Hearing”) will be set no less than twenty-eight days following approval of the Disclosure Statement.

The Confirmation Hearing may be continued from time to time.
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Dated this 21st day of March, 2018.             VOGEL LAW FIRM


                                           BY: /s/ Caren W. Stanley
                                               Caren W. Stanley (#06100)
                                               cstanley@vogellaw.com
                                               218 NP Avenue
                                               PO Box 1389
                                               Fargo, ND 58107-1389
                                               Telephone: (701) 237-6983
                                               Fax: (701) 476-7676
                                               ATTORNEYS FOR DEBTOR




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                                 EXHIBIT A

                            (Administrative Claims)
                                                       Administrative Claims & Priority Tax Claims
                                                                 SCHEDULE E/F                      PROOF OF                                                                          ALLOWED CLAIM
 NO.                         CREDITOR NAME                                      SCHEDULED AMOUNT               DATE POC FILED                                    CLAIM AMOUNT
                                                                  CREDITOR #                       CLAIM NO.                                                                            AMOUNT

ADMINISTRATIVE CLAIMS
  1 B.E. Capital Management Fund LP                                                                   42          3/31/2017                                             $16,124.35      $16,124.35
       (Kash Apparel)
  2 Euler Hermes Agent for Project 28 Clothing                      3.467              $1,896.00     44           3/31/2017                                              $3,557.50      $1,950.00
  3 Cavalini Inc. dba Ci Sono                                       3.112            $171,430.98     233           6/6/2017                                            $177,004.50     $40,362.50
  4 Edgemine Inc.                                                   3.193             $70,182.35     198          5/16/2017                                             $86,166.00     $18,428.50




                                                                                                                                                Case 17-30112
  5 Fantas Eyes Inc.                                                3.203             $43,452.63     300          6/30/2017                                            $48,856.78      $13,268.47
      Lozier Corporation                                            3.343             $26,708.34     298         06/29/2017                                            $204,290.18     $14,510.56
  6 Lux Accessories Ltd                                             3.345             $14,997.95     266          6/20/2017                                             $15,622.87     $11,966.62
  7 Poof Apparel                                                    3.455              $9,028.44     205          5/19/2017                                              $5,220.00       $846.00
  8 Rosenthal & Rosenthal Inc.                                                                       135           5/8/2017                                            $146,264.30    $146,264.30
       *Bemine NYC, Inc. ‐ $3,300.00
       *David & Young Group ‐ $2,016.00




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       *Fashion Ave Sweater Knits/It's Our Time ‐ $20,400.00
       *GMA Accessories, Inc./Capelli ‐ $25,345.00
       *Jodi Kristopher, LLC/City Triangles ‐ $18,587.25
       *Second Generation BEBOP ‐ $24,913.50
       *Tempted Apparel ‐ $51,702.55




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  9 Sun Ban Fashions Inc.                                           3.567              $6,245.01     275          6/22/2017                                              $6,368.90       $3,380.12
PRIORITY TAX CLAIMS
 10 Arkansas: Sebastian County Tax Collector                        2.231                  $0.00     17          03/20/2017                                               $747.08          $186.77
 11 Arkansas: Washington County Tax Collector                       2.285                  $0.00     116         05/01/2017                                               $629.80          $131.19
 12 Colorado: El Paso Treasurer                                                                                                                                           $757.41          $189.35
 13 Colorado: Mesa County Treasurer                                                                                                                                       $511.20          $127.80




                                                                                                                                          Page 5 of 42
 14 Colorado: Pueblo County Treasurer                                                                                                                                    $3,025.66         $756.42
 15 Idaho: Bonneville County Treasurer                               2.19                  $0.00     21          03/20/2017                                               $800.34         $466.87
 16 Idaho: Kootenai County Treasurer                                2.141                  $0.00     210         05/19/2017                                                 $90.75          $22.69
 17 Idaho: Twin Falls County Treasurer                                                                                                                                      $10.40           $2.34
 18 Idaho: Ada County Treasurer                                                                                                                                           $612.38          $153.10
 19 Indiana: Allen County Treasurer                                  2.5                   $0.00     195         05/16/2017                                               $772.80          $225.43
 20 Kansas: Saline County Treasurer                                                                                                                                         $44.60          $11.15
 21 Kansas: Ellis County Treasurer                                                                                                                                        $183.92           $45.98
 22 Michigan: Meridian Charter Township                             2.157                  $0.00     165         05/10/2017                                               $561.10          $140.28
 23 Michigan: City of Sterling Heights                                                                                                                                    $504.84          $126.21
 24 Michigan: City of Sterling Heights                                                                                                                                      $88.81          $22.20
 25 Michigan: Charter Township of Flint                                                                                                                                   $214.50           $53.63


                                                                                                                                                Desc Ma
                                                      Administrative Claims & Priority Tax Claims
                                                                SCHEDULE E/F                      PROOF OF                                                                         ALLOWED CLAIM
NO.                          CREDITOR NAME                                     SCHEDULED AMOUNT               DATE POC FILED                                    CLAIM AMOUNT
                                                                 CREDITOR #                       CLAIM NO.                                                                           AMOUNT

26    Michigan: City of Auburn Hills                                                                                                                                    $977.88         $285.21
27    Michigan: City of Grandville                                                                                                                                     $1,710.37        $427.59
28    Michigan: City of Auburn Hills                                                                                                                                    $527.19         $153.76
29    Michigan: Frenchtown Charter Township                                                                                                                            $1,386.89        $346.72
30    Michigan: Charter Township of Flint                                                                                                                               $126.05           $31.51
31    Missouri: Collector for County of Buchanan                                                                                                                          $48.33          $12.08




                                                                                                                                               Case 17-30112
32    Missouri: Jasper County Collector                                                                                                                                   $65.38          $16.35
33    Missouri: St. Louis County Treasurer                                                                                                                              $288.76           $72.19
34    Missouri: Greene County Treasurer                                                                                                                                 $216.92           $54.23
35    Missouri: Boone County Collector of Revenue                                                                                                                       $752.45         $188.11
36    Missouri: Jackson County Collector                                                                                                                                $604.65         $151.16
37    Missouri: St. Charles Collector of Revenue                                                                                                                       $1,433.66        $358.42
38    Montana: Yellowstone County Treasurer                        2.303                  $0.00     334         08/07/2017                                              $163.09           $47.57




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39    Montana: Butte‐Silver Bow Treasurer                                                                                                                               $110.48           $27.62
40    Montana: Missoula County Clerk                                                                                                                                    $216.59           $63.17
41    North Carolina: Guilford County Tax Department                                                                                                                   $2,660.12        $554.10
42    North Carolina: Forsyth County Tax Collector                                                  361            3/5/2018                                            $2,275.22        $461.24
43    North Carolina: Buncombe County Tax Department                                                                                                                   $1,404.15        $292.48




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44    Nebraska: Madison County Treasurer                                                                                                                                  $65.94          $16.49
45    Nebraska: Hall County Treasurer                                                                                                                                   $223.14           $55.79
46    Nebraska: Buffalo County Treasurer                                                                                                                                  $19.38           $4.85
47    Oklahoma: Tulsa County Treasurer                             2.274                  $0.00      55         03/23/2017                                             $1,889.00       $1,889.00
48    Oklahoma County Treasurer                                    2.207                  $0.00      63         04/03/2017                                             $3,031.28       $3,031.28
49    Oklahoma: Tulsa County Treasurer                                                                                                                                 $1,623.00        $405.75




                                                                                                                                         Page 6 of 42
50    Oklahoma: Garfield County Treasurer                                                                                                                              $1,171.00        $292.75
51    Department of the Treasury ‐ Internal Revenue Service         2.12                  $0.00     72          04/10/2017                                             $7,208.74       $1,877.19
52    Tennessee Department of Revenue                              2.263                  $0.00     309         07/03/2017                                            $10,810.00      $10,810.00
53    Tennessee: Montgomery County Trustee                                                                                                                              $220.00           $55.00
54    Tennessee: Murfreesboro City Tax Collector                                                                                                                          $17.00           $4.25
55    Tennessee: Rutherford County Trustee                                                                                                                                $38.00           $9.50
56    Tennessee: Washington County Tax Collector                                                                                                                        $106.12           $26.53
57    Tennessee: Johnson City Recorder                                                                                                                                    $84.00          $21.00
58    Texas: Gregg County                                          2.102                  $0.00 106 and 347      4/24/2017                                             $1,267.93       $1,267.93
                                                                                                                & 11/14/17




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                                                            Administrative Claims & Priority Tax Claims
                                                                      SCHEDULE E/F                       PROOF OF                                                                          ALLOWED CLAIM
 NO.                          CREDITOR NAME                                          SCHEDULED AMOUNT                DATE POC FILED                                    CLAIM AMOUNT
                                                                       CREDITOR #                        CLAIM NO.                                                                            AMOUNT

 59    Texas: Lubbock Central Appraisal District                         2.148                  $0.00    9 and 343     3/10/2017                                               $1,558.46        $389.62
                                                                                                                      & 10/13/17
 60    Texas: Taxing Districts Collected by Potter County                2.217                  $0.00   22 and 344       3/20/17                                               $3,238.09        $809.52
                                                                                                                    & 10/27/2017
 61    Texas: Smith County                                               2.238                  $0.00   28 and 348     3/24/2017                                                $415.06           $86.46
                                                                                                                      & 11/27/17




                                                                                                                                                      Case 17-30112
 62    Texas: Jefferson County                                           2.129                  $0.00   91 and 349     4/17/2017                                               $1,800.08        $450.02
                                                                                                                       & 12/4/17
 63    Texas: Tom Green County Appraisal District                        2.268                  $0.00       196       05/16/2017                                               $1,400.00        $350.00
 64    Texas: Tyler Independent School District                                                         336 and 345    8/18/2017                                                $757.41         $157.77
                                                                                                                       & 11/2/17
 65    Texas: Tyler Independent School District                                                         336 and 345    8/18/2017                                                $757.41         $157.77
                                                                                                                       & 11/2/17




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 66 Texas: Midland Central Appraisal District                                                                                                                                  $1,151.07        $186.01
 67 Washington: Benton County Treasurer                                  2.16                   $0.00      95          04/18/2017                                                $365.20        $240.24
 68 Wisconsin: City of Brookfield                                        2.25                   $0.00      264         06/19/2017                                                $383.50        $383.50
 69 Wisconsin: City of Brookfield                                                                                                                                              $1,737.38        $174.32
 70 Wisconsin: City of Madison Treasurer                                                                   346         11/13/2017                                              $1,562.96        $390.74




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 71 Wisconsin: City of LaCrosse                                                                                                                                                  $681.57        $170.39
 72 Wisconsin: City of Eau Claire                                                                                                                                                $508.12        $148.20
 73 Wisconsin: Brown County Treasurer                                                                                                                                          $1,576.00        $394.00
 74 Wisconsin: City of Wausau                                                                                                                                                    $192.36         $48.09
 75 Wisconsin: Town of Grand Chute                                                                                                                                               $169.17         $42.29
 76 Wisconsin: Village of Greendale, Milwaukee City                                                                                                                              $443.96        $110.99




                                                                                                                                                Page 7 of 42
 77 Wisconsin: Village of Ashwaubenon, Green Bay                                                                                                                               $1,607.52        $401.88
 78 Wisconsin: Fond Du Lac County Treasurer                                                                                                                                      $612.65        $153.16
 79 Wisconsin: City of Janesville                                                                                                                                                $397.04         $99.26
 80 West Virginia: Wood County Treasurer                                                                                                                                       $1,063.30        $265.83
 81 West Virginia: Monongalia County Treasurer                                                                                                                                   $556.81        $278.41
 82 Wyoming: Natrona County Treasurer                                    2.184                  $0.00       12         03/13/2017                                                $224.72         $56.18
 83 Wyoming: Larimore County Treasurer                                                                                                                                           $354.07         $88.52
TOTAL:                                                                                    $343,941.70                                                                        $785,287.59    $297,168.17


                                                                                                                                                                                            EXHIBIT A


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                                 EXHIBIT B

            Class 2 (Convenience Class – General Unsecured Claims)
                               Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                  (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                          SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
  NO.                   CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                           CREDITOR #                   CLAIM NO.                                                                            AMOUNT
GIFT CARD HOLDERS, EMPLOYEES
    1   Abby Loss                                                   3.1                      214        05/23/2017                                               $30.00           $30.00
    2   Adde Schroader                                           3.501             $19.61                                                                                         $19.61
    3   Alexis Perez                                             3.446             $14.51                                                                                         $14.51
    4   Alfa Arreguin                                             3.51             $15.80                                                                                         $15.80




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    5   Alicai Harris                                            3.254             $31.93                                                                                         $31.93
    6   Alyssa Sonksen                                           3.530             $32.08                                                                                         $32.08
    7   Amanda D. Ramsey                                            3.1                      115        04/28/2017                                               $25.00           $25.00
    8   Amanda Murphy                                            3.393            $16.04                                                                                          $16.04
    9   Amanda Thibault                                          3.589            $18.14                                                                                          $18.14
   10 Amber Bosset                                                3.86           $116.64                                                                                         $116.64
   11 Anna Gibbs                                                 3.234            $15.80                                                                                          $15.80




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   12 Anne Wiedel                                                3.630            $36.76                                                                                          $36.76
   13 Annmarie Downey                                            3.181            $13.18                                                                                          $13.18
   14 Ashleigh Sympson                                           3.572            $13.68                                                                                          $13.68
   15 Ashley Smith                                               3.525           $177.66                                                                                         $177.66
   16 Betha Vandelft                                             3.601            $19.00                                                                                          $19.00




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   17 Brandy Kinney                                              3.323            $16.30                                                                                          $16.30
   18 Breana Levins                                                 3.1                       89        04/13/2017                                               $26.93           $26.93
   19 Brianna Cannon                                             3.106             $10.60                                                                                         $10.60
   20 Britt Sorenson                                             3.531             $12.61                                                                                         $12.61
   21 Brittany Roesch                                               3.1                      209        05/19/2017                                               $42.99           $42.99
   22 Brook Bokowski                                              3.84             $20.00                                                                                         $20.00




                                                                                                                                   Page 9 of 42
   23 Carly Walsh                                                   3.1                      138        05/08/2017                                               $50.00           $50.00
   24 Carol Dahlinger                                            3.162             $16.95                                                                                         $16.95
   25 Cassandra Nguyen                                           3.408             $31.78                                                                                         $31.78
   26 Cassie Hoiness                                                3.1                      216        05/22/2017                                               $75.00           $75.00
   27 Catherine D. Meinke                                           3.1                      176        05/15/2017                                              $100.00          $100.00
   28 Chekila Simmon                                             3.521             $24.08                                                                                         $24.08
   29 Chelsie Canida                                             3.104              $3.80                                                                                          $3.80
   30 Chera Nichols                                                 3.1                      245        06/16/2017                                               $50.00           $50.00
   31 Chera Nichols                                                 3.1                      246        06/16/2017                                               $50.00           $50.00




                                                                                                                                         Desc Ma
                              Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                 (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                         SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                    CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                          CREDITOR #                   CLAIM NO.                                                                            AMOUNT
32    Cindy J Cantero                                              3.1                      276        06/23/2017                                               $42.83           $42.83
33    Corene Gurno                                              3.247             $13.99                                                                                         $13.99
34    Corrin McKegue                                            3.363             $20.00                                                                                         $20.00
35    Courtney Seekins                                          3.508             $48.10                                                                                         $48.10
36    Danielle McClure                                          3.361             $40.04                                                                                         $40.04




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37    Darala Magpie                                             3.348             $42.49                                                                                         $42.49
38    Desiree Perez                                             3.447             $13.43                                                                                         $13.43
39    Devanna Simpson                                           3.523             $13.03                                                                                         $13.03
40    Domini Roberts                                            3.485             $16.15                                                                                         $16.15
41    Donna Walker                                              3.614             $12.12                                                                                         $12.12
42    Dorrine Gardipee                                             3.1                      231        06/05/2017                                               $50.00           $50.00
43    Dusty Cissell                                             3.134             $31.25                                                                                         $31.25




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44    Elizabeth Johnson                                         3.306             $15.70                                                                                         $15.70
45    Elsa Rivera                                               3.482             $19.42                                                                                         $19.42
46    Emily Peterson                                               3.1                      220        05/26/2017                                              $100.00          $100.00
47    Esperan Jaquez                                            3.287             $27.89                                                                                         $27.89
48    Gina M. Pantaleo                                             3.1                       46        03/31/2017                                               $50.00           $50.00




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49    Hanna Shatila                                             3.513             $14.39                                                                                         $14.39
50    Heather Baumgartner                                        3.65             $62.70                                                                                         $62.70
51    Heather Costa                                             3.155             $13.00                                                                                         $13.00
52    Heather Kluck                                             3.324             $16.66                                                                                         $16.66
53    Holly Hasbrouck                                           3.257             $16.10                                                                                         $16.10




                                                                                                                                  Page 10 of 42
54    Holly Nelson                                              3.403             $12.40                                                                                         $12.40
55    Hope Woolf                                                3.640             $10.33                                                                                         $10.33
56    Jackie Timm                                               3.591             $21.09                                                                                         $21.09
57    Jaiden Weston                                             3.628             $59.28                                                                                         $59.28
58    Jamie Reusche                                                3.1                      213        05/22/2017                                              $116.49          $116.49
59    Jammie Ripke                                              3.481             $24.55                                                                                         $24.55
60    Jasmine Scott                                             3.504             $13.29                                                                                         $13.29
61    Je Christopher                                            3.132             $13.35                                                                                         $13.35
62    Jenn Archibald                                             3.50             $14.20                                                                                         $14.20
63    Jennifer Byrd                                             3.101             $23.83                                                                                         $23.83




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                                   Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                              SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
NO.                         CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                   CLAIM NO.                                                                              AMOUNT
64    Jennifer Giampietro                                               3.1                      85         04/10/2017                                               $100.00           $100.00
65    Jennifer Knobock                                                  3.1            $50.00    353        12/27/2017                                                $50.00            $50.00
66    Jessi Hoerth                                                      3.1                      94         04/17/2017                                                $50.00            $50.00
67    Jessi Pfaff                                                    3.450             $26.54                                                                                           $26.54
68    Jessica Hogan                                                  3.266             $54.10                                                                                           $54.10




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69    Jessica Suitter                                                   3.1                       87        04/11/2017                                              $1,200.00        $1,200.00
70    Joann Bryan                                                     3.98             $8.01                                                                                             $8.01
71    Jocelyn Dorwart                                                3.180            $15.65                                                                                            $15.65
72    Juanita Nelson                                                 3.404           $103.28                                                                                          $103.28
73    Judy Campbell                                                  3.103            $24.22                                                                                            $24.22
74    Judy Quinn                                                     3.471           $107.82                                                                                          $107.82
75    Julia Kubicek                                                     3.1           $45.31     351        12/12/2017                                                $45.31            $45.31




                                                                                                                                             Doc 610
76    Julie Soderlund                                                3.529            $19.03                                                                                            $19.03
77    Kais Kucholick                                                 3.327            $15.49                                                                                            $15.49
78    Kari Myers                                                     3.396            $15.49                                                                                            $15.49
79    Kathleen Schutte                                                  3.1                      289        06/25/2017                                               $100.00           $100.00
80    Katie Harrison                                                 3.255             $16.18                                                                                           $16.18




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81    Katie Lipscomb                                                    3.1                      244        06/16/2017                                                $67.33            $67.33
82    Katie Mosgrove                                                 3.384             $21.79                                                                                           $21.79
83    Katie Osweiler                                                    3.1                       65        04/04/2017                                               $100.00           $100.00
84    Katie Rhoden                                                   3.479            $15.88                                                                                            $15.88
85    Katie Rogalla                                                  3.489            $12.62                                                                                            $12.62




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86    Kaycee Biggs                                                    3.76           $103.74                                                                                           $103.74
87    Kayci Patterson                                                3.441             $3.18                                                                                             $3.18
88    Kaylon Sellers                                                    3.1                      247        06/18/2017                                                $50.00            $50.00
89    Kelly Sanchez                                                  3.499             $13.00                                                                                           $13.00
90    Kelly Waykins                                                  3.621             $21.38                                                                                           $21.38
91    Kend Bettreudn                                                  3.74             $16.01                                                                                           $16.01
92    Kendal Maxwell                                                 3.359             $13.15                                                                                           $13.15
93    Kileigh Smith                                                  3.526              $8.00                                                                                            $8.00
94    Kimberly Mannon                                                   3.1                      177        05/15/2017                                               $200.00           $200.00
95    Kneessa Booker                                                    3.1                      217        05/24/2017                                                $25.00            $25.00




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                               Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                  (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                          SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                           CREDITOR #                   CLAIM NO.                                                                            AMOUNT
96    Kris Stankevitz                                            3.538              $7.38                                                                                          $7.38
97    Kristie Baer                                                  3.1                      222        05/30/2017                                               $27.20           $27.20
98    Kristie Binger                                              3.77            $16.50                                                                                          $16.50
99    Lacy Mullins                                               3.389            $64.15                                                                                          $64.15
100   LaRonica M. Tomlinson                                         3.1          $100.00     350         12/9/2017                                              $100.00          $100.00




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101   Larry Marson                                               3.355            $26.53                                                                                          $26.53
102   Leanna Chapen                                              3.126            $17.31                                                                                          $17.31
103   Les Bumgardner                                             3.100            $26.73                                                                                          $26.73
104   Leslie Young                                               3.643            $26.48                                                                                          $26.48
105   Li Kruckenberg                                             3.325            $21.09                                                                                          $21.09
106   Linda Kefgley                                              3.319            $11.43                                                                                          $11.43
107   Linda Stanley                                              3.539            $26.73                                                                                          $26.73




                                                                                                                                         Doc 610
108   Lindsay N Hackett                                             3.1                      321        07/03/2017                                              $600.00          $600.00
109   Lisa Heavilin                                              3.261             $22.00                                                                                         $22.00
110   Lori Thaodorf                                              3.583             $20.48                                                                                         $20.48
111   Mallory Stubbs                                             3.563             $20.52                                                                                         $20.52
112   Manda Gentry                                               3.232             $16.26                                                                                         $16.26




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113   Manno Becklund                                              3.67             $16.97                                                                                         $16.97
114   Margaret Fornero                                           3.221             $21.44                                                                                         $21.44
115   Megan Shreeve                                              3.519             $25.44                                                                                         $25.44
116   Meghan Hammond                                             3.252             $16.44                                                                                         $16.44
117   Melissa Sapp                                               3.500             $11.64                                                                                         $11.64




                                                                                                                                   Page 12 of 42
118   Michael Davis                                                 3.1                      109        04/24/2017                                               $50.00           $50.00
119   Michael Porter                                             3.458             $32.50                                                                                         $32.50
120   Michelle Johnson                                           3.307             $77.29                                                                                         $77.29
121   Miranda Ferski                                             3.207             $14.98                                                                                         $14.98
122   Neka Gary                                                  3.229             $32.08                                                                                         $32.08
123   Nelda Wilson                                               3.634             $25.00                                                                                         $25.00
124   Nicole Crader                                                 3.1            $50.00    352        12/20/2017                                               $50.00           $50.00
125   Nicole Taylor                                              3.575             $15.88                                                                                         $15.88
126   Nikki Ross                                                 3.490             $32.56                                                                                         $32.56
127   Nyagoa Gony                                                3.238             $48.11                                                                                         $48.11




                                                                                                                                         Desc Ma
                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                    (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                            SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                       CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                             CREDITOR #                   CLAIM NO.                                                                            AMOUNT
128   Olive Deandrea                                               3.169             $17.63                                                                                         $17.63
129   Paige L Holman                                                                           139        05/09/2017                                              $157.50          $157.50
130   Patri Chaffins                                               3.125             $13.66                                                                                         $13.66
131   Peg Gulbranson                                               3.246             $31.78                                                                                         $31.78
132   Rbecc Baertsch                                                3.62             $10.00                                                                                         $10.00




                                                                                                                                           Case 17-30112
133   Rebekah Dye                                                  3.189             $17.14                                                                                         $17.14
134   Rosaline Glover                                              3.235             $12.03                                                                                         $12.03
135   Rosemary Mena                                                3.365             $21.38                                                                                         $21.38
136   S. Hermelbracht                                              3.262             $10.70                                                                                         $10.70
137   Samantha Dresen                                              3.182             $14.22                                                                                         $14.22
138   Sara Buechel                                                  3.99              $3.80                                                                                          $3.80
139   Sarah Davis                                                     3.1                       98        04/20/2017                                               $50.00           $50.00




                                                                                                                                           Doc 610
140   Sarah Fouts                                                  3.223             $15.82                                                                                         $15.82
141   Sarah Halsted                                                   3.1                      215        05/23/2017                                               $50.00           $50.00
142   Sarah Ofarrio                                                3.421             $18.18                                                                                         $18.18
143   Shari Metz                                                   3.367             $91.91                                                                                         $91.91
144   Shaylinn Kaus                                                3.316             $12.28                                                                                         $12.28




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145   Sheena Nelson                                                3.405             $13.08                                                                                         $13.08
146   Shelby Swanson                                               3.570              $1.90                                                                                          $1.90
147   Sherri Hickman                                               3.263             $21.10                                                                                         $21.10
148   Shonnna Zuber                                                3.645              $8.69                                                                                          $8.69
149   Sindy M. Shanks                                                 3.1                      102        04/21/2017                                               $50.00           $50.00




                                                                                                                                     Page 13 of 42
150   Skylar Obrien                                                3.420             $37.80                                                                                         $37.80
151   Sonika Hamdan                                                3.251             $21.40                                                                                         $21.40
152   Stacey Stormont                                              3.562             $12.17                                                                                         $12.17
153   Stacey Wallace                                               3.615             $13.54                                                                                         $13.54
154   Stepahnie Hallich                                            3.250             $12.40                                                                                         $12.40




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
  NO.                     CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                              AMOUNT
  155 Stephanie Neuhaus                                             3.407             $32.08                                                                                           $32.08
  156 Tabatha McClure                                                  3.1                      90         04/13/2017                                                $25.00            $25.00
  157 Tara Bergsjo                                                     3.1                      108        04/21/2017                                               $115.00           $115.00
  158 Tiffany Larsen                                                3.332              $6.85                                                                                            $6.85
  159 Tiffany Twohill                                                  3.1                      229        06/02/2017                                               $100.00           $100.00




                                                                                                                                            Case 17-30112
  160 Tracy Powers                                                  3.459             $24.98                                                                                           $24.98
  161 Trista Fowler                                                    3.1                      242        06/14/2017                                                $52.50            $52.50
  162 Whitney McClure                                               3.362              $8.13                                                                                            $8.13
  163 Wintey Shayla                                                 3.515              $1.35                                                                                            $1.35
UTILITY COMPANIES
  164 ALP Utilities                                                  3.34            $713.65                                                                                         $713.65
  165 Ameren Illinois                                                3.35           $519.40      27        03/23/2017                                               $654.14          $654.14




                                                                                                                                            Doc 610
  166 American Electric Power                                        3.37            $654.23                                                                                          $654.23
  167 American Electric Power                                        3.38            $828.17                                                                                          $828.17
  168 Ames Municipal Utilities                                       3.41            $695.59                                                                                         $695.59
  169 Aqua Ohio Inc.                                                 3.49             $11.82                                                                                           $11.82
  170 Ashwaubenon Water & Sewer Utility                              3.54            $135.05                                                                                         $135.05




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  171 Atmos Energy Corporation                                       3.59            $222.63    297        06/29/2017                                               $143.67          $143.67
  172 Baxter, City of                                                3.66             $61.01                                                                                           $61.01
  173 Belmont County Sanitary Sewer District                         3.70             $35.00                                                                                           $35.00
  174 Bemidji Holding, LLC                                           3.71             $82.59                                                                                           $82.59
  175 Benton PUD                                                     3.73            $306.13                                                                                          $306.13




                                                                                                                                      Page 14 of 42
  176 Black Hawk Waste Disp Inc.                                     3.79            $176.55                                                                                         $176.55
  177 Black Hills Energy                                             3.80            $531.25                                                                                         $531.25
  178 Brainerd Public Utilities                                      3.87            $592.15                                                                                         $592.15
  179 Cass County Electric Coop                                     3.111            $454.11                                                                                         $454.11
  180 Cedar Falls Utilities                                         3.114          $1,082.03    208        05/19/2017                                              $1,176.82        $1,176.82
  181 Centerpoint Energy                                            3.115            $269.26                                                                                          $269.26
  182 CenturyTel of Central Missouri dba CenturyLink                                             81        04/10/2017                                                $47.10            $47.10
  183 CenturyTel of Southwest Missouri dba CenturyLink                                           80        04/10/2017                                                $76.49            $76.49
  184 CenturyTel of Wisconsin, LLC dba CenturyLink                  3.122             $36.90     78        04/10/2017                                                 $5.65             $5.65
  185 City of Fergus Falls                                          3.135             $77.00                                                                                           $77.00




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                               Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                           SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                   CLAIM NO.                                                                            AMOUNT
186   City of Lima                                                3.136            $19.02                                                                                          $19.02
187   City of Garden City                                         3.227           $352.76     272        06/21/2017                                              $352.76          $352.76
188   City of Kearney Utilities Department                        3.318           $341.80     31         03/27/2017                                              $358.52          $358.52
189   City Water and Light                                        3.139           $409.80     238        06/12/2017                                              $337.99          $337.99
190   Clarksville Department of Electricity                       3.141           $449.23                                                                                        $449.23




                                                                                                                                          Case 17-30112
191   Clarksville Gas & Water                                     3.142            $27.14                                                                                          $27.14
192   Columbia Gas of Ohio                                        3.147            $58.58     263        06/19/2017                                              $140.28         $140.28
193   Colorado Springs Utilities                                  3.146           $131.37                                                                                        $131.37
194   Consumers Energy Company                                    3.151            $56.36      40        03/30/2017                                               $58.06           $58.06
195   Detroit Lakes, City of                                      3.173           $469.57                                                                                        $469.57
196   DTE Energy                                                  3.183           $589.75                                                                                         $589.75
197   Dubuque, City of                                            3.184            $88.59                                                                                          $88.59




                                                                                                                                          Doc 610
198   Duke Energy                                                 3.186           $325.00                                                                                         $325.00
199   Duke Energy Progress                                        3.187           $828.22                                                                                         $828.22
200   Dominion Hope Gas                                           3.179           $276.05     103        04/07/2017                                              $172.16          $172.16
201   Embarq Minnesota, INC dba CenturyLink                                                   82         04/10/2017                                                $4.52            $4.52
202   Empire District                                             3.196           $608.29                                                                                        $608.29




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203   Energy West, Inc.                                           3.197           $292.79      16        03/20/2017                                              $294.10          $294.10
204   Fargo, City of                                              3.205           $341.60                                                                                        $341.60
205   Fort Dodge, City of                                         3.222             $90.62                                                                                         $90.62
206   Grand Island, City of                                       3.241           $700.06                                                                                        $700.06
207   Great Plains Natural Gas Co                                 3.243             $96.37     71        04/10/2017                                               $80.50           $80.50




                                                                                                                                    Page 15 of 42
208   Hays, City of                                               3.258             $36.78                                                                                         $36.78
209   Idaho Falls, City of                                        3.274           $376.77                                                                                        $376.77
210   Idaho Power Corporation                                     3.275           $849.82                                                                                        $849.82
211   Indiana American Water                                      3.277             $43.22     54        04/03/2017                                               $24.31           $24.31
212   Indiana Michigan Power                                      3.278          $1,058.04                                                                                      $1,058.04
213   Intermountain Gas Co.                                       3.280           $162.18      69        04/10/2017                                              $230.80          $230.80
214   Janesville Water & Waste                                    3.286             $93.72                                                                                         $93.72
215   Johnson City Power Board                                    3.304            $589.51                                                                                       $589.51
216   Johnson City Utility                                        3.305             $13.73                                                                                         $13.73
217   Kennewick, City of                                          3.320            $134.81                                                                                       $134.81




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                              AMOUNT
218   KCPL Greater Missouri Corporation Inc.                        3.317            $374.59     32        03/27/2017                                               $555.65           $555.65
219   Lincoln Electric System                                       3.337            $470.68                                                                                          $470.68
220   Logan, City of                                                3.341            $281.48                                                                                          $281.48
221   Madison Gas and Electric                                      3.346            $421.46                                                                                          $421.46
222   Mid‐America Asset Management                                  3.368            $245.14                                                                                          $245.14




                                                                                                                                            Case 17-30112
223   Mid‐Nebraska Disposal                                         3.369             $91.90                                                                                           $91.90
224   MidAmerican Energy Company                                    3.370            $809.74      4        03/17/2017                                               $917.07           $917.07
225   Midwest Energy Inc                                            3.372            $822.27     59        04/03/2017                                               $829.26           $829.26
226   Willmar Municipal Utility                                     3.376            $343.42                                                                                          $343.42
227   Minnesota Energy Resources                                    3.377            $506.58                                                                                          $506.58
228   Mon Power                                                     3.380          $1,219.50                                                                                        $1,219.50
229   Montgomery County Environmental Services                      3.382             $75.19    241        06/14/2017                                               $101.82           $101.82




                                                                                                                                            Doc 610
230   Muncie Sanitary District                                      3.390             $22.38                                                                                           $22.38
231   Municipal Light and Water                                     3.391            $169.89                                                                                          $169.89
232   Murfreesboro Electric Dept.                                   3.392            $492.43     20        03/20/2017                                                $65.37            $65.37
233   Nebraska Public Power District                                3.399          $1,166.87                                                                                        $1,166.87
234   North Dakota Recycling Services, LLC                          3.412             $20.00                                                                                           $20.00




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235   Northern Electric Coop                                        3.413           $436.13                                                                                          $436.13
236   Northern States Power Company, a Wisconsin                    3.642            $489.27     19        03/20/2017                                               $489.27           $489.27
      Corporation, d/b/a Xcel Energy
237   O'Fallon Water & Sewer                                        3.149             $19.69                                                                                           $19.69
238   Otter Tail Power Company                                      3.436          $1,065.86     36        03/28/2017                                              $1,062.03        $1,062.03




                                                                                                                                      Page 16 of 42
239   Pederson Sanitation Corp                                      3.442             $53.50                                                                                           $53.50
240   Pellitteri Waste Systems                                      3.443             $78.54                                                                                           $78.54
241   Public Service of Colorado A Colorado Corp DBA Xcel           3.642          $4,445.99      1        03/13/2017                                               $381.10           $381.10
      Energy
242   Public Utility Commission                                     3.469           $435.30                                                                                          $435.30
243   Questar Gas Company                                           3.470             $18.16     11        03/13/2017                                                $18.94            $18.94
244   Rocky Mountain Power                                          3.488          $1,409.54                                                                                        $1,409.54
245   Scottsbluff, City of                                          3.504            $888.47                                                                                         $888.47
246   SEMCO Energy                                                  3.509            $103.37     13        03/17/2017                                               $103.37           $103.37
247   SEMCO Energy Gas Co                                           3.509           $103.37      58        03/30/2017                                               $135.55           $135.55




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                                  Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                              SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
  NO.                      CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                   CLAIM NO.                                                                            AMOUNT
  248   St. Cloud, City of                                           3.536             $25.55                                                                                         $25.55
  249   Sterling Heights, City of                                    3.558             $80.81                                                                                         $80.81
  250   Terre Haute, City of                                         3.581             $26.87                                                                                         $26.87
  251   The Energy Cooperative                                       3.585             $60.00                                                                                         $60.00
  252   United Telephone Company of Ohio dba CenturyLink                                          77        04/10/2017                                              $500.39          $500.39




                                                                                                                                             Case 17-30112
  253   United Telephone Company of the West ‐ NE dba                3.123             $76.51     75        04/10/2017                                               $76.91           $76.91
        CenturyLink
  254   United Telephone Southeast ‐ TN dba CenturyLink              3.124           $114.48      76        04/10/2017                                               $87.77           $87.77

 255 Vectren Energy Delivery                                         3.604            $160.87                                                                                        $160.87
 256 Vectren Energy Delivery                                         3.605             $88.94                                                                                         $88.94




                                                                                                                                             Doc 610
 257 Verendrye Electric Coop                                         3.606           $261.44                                                                                        $261.44
 258 Vienna, City of                                                 3.609             $13.57                                                                                         $13.57
 259 Watertown Municipal Utilities                                   3.620            $405.17    235        06/08/2017                                              $501.49          $501.49
 260 WE Energies                                                     3.623          $1,063.71                                                                                      $1,063.71
 261 Williston, City of                                              3.633             $34.40                                                                                         $34.40




                                                                                                                         Document
                                                                                                                         Filed 03/21/18 Entered 03/21/18 13:05:43
 262 Wisconsin Public Service Corporation                            3.637           $817.20     268        05/22/2017                                              $614.66         $614.66
 263 Youngstown Water                                                3.644             $29.87                                                                                         $29.87
MERCHANTS, SERVICE PROVIDERS, AND MISC.
 264 1st Choice Electric Inc.                                           3.4          $270.00                                                                                         $270.00
 265 1st Choice Lock & Security LLC                                     3.5          $325.20      74        04/11/2017                                              $325.20          $325.20




                                                                                                                                       Page 17 of 42
 266 A & A Landscape                                                    3.7          $570.00                                                                                         $570.00
 267 A & G Electric Company                                             3.8          $183.51                                                                                         $183.51
 268 A.C. Klopf, Inc.                                                 3.11           $410.00                                                                                         $410.00
 269 A.T. Klemens                                                     3.13           $124.00                                                                                         $124.00
 270 A‐1 Lock & Key                                                     3.9           $86.51                                                                                          $86.51
 271 A‐1 Sign Co.                                                     3.10           $208.61                                                                                         $208.61
 272 AAA Heating & Sheet Metal                                        3.14           $130.00                                                                                         $130.00
 273 Aaron Parker                                                    3.440           $172.38                                                                                         $172.38
 274 ABM Building Services                                            3.15           $104.50                                                                                         $104.50
 275 AC3 Building Maintenance                                         3.16            $20.00                                                                                          $20.00




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                            AMOUNT
276   Accucool Inc.                                                  3.17            $196.84                                                                                        $196.84
277   Acorn Electrical                                               3.18            $200.00                                                                                        $200.00
278   Advanced Comfort                                               3.21            $125.00                                                                                        $125.00
279   Advanced Contracting                                           3.20            $260.00                                                                                        $260.00
280   Advanced Heating & Air                                         3.22            $138.24                                                                                        $138.24




                                                                                                                                            Case 17-30112
281   Affordable Repair Service                                      3.23            $756.00                                                                                        $756.00
282   AG Cleaning Services                                           3.25             $90.00                                                                                         $90.00
283   Air Controls Billings                                          3.26            $700.19                                                                                        $700.19
284   Aire Serv of Longview                                          3.28            $311.56                                                                                        $311.56
285   AJ Sheet Metal, Inc.                                           3.29            $211.32     15        03/17/2017                                              $211.32          $211.32
286   Alliant Energy                                                 3.32            $739.08                                                                                        $739.08
287   Allied Restaurant Service                                      3.33            $133.75                                                                                        $133.75




                                                                                                                                            Doc 610
288   Ames Lock & Security                                           3.40            $123.05                                                                                        $123.05
289   Amplitel Technologies                                          3.43            $203.11                                                                                        $203.11
290   Anchor Safety, Inc.                                            3.44             $47.36                                                                                         $47.36
291   Andor, Inc.                                                    3.46            $114.79                                                                                        $114.79
292   Appollo Heating and Air Conditioning                           3.48          $1,467.45                                                                                      $1,467.45




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293   Ask About Windows                                              3.54             $38.00                                                                                         $38.00
294   AT&T ‐ Atlanta, GA                                             3.55            $504.08                                                                                        $504.08
295   AT&T ‐ Atlanta, GA                                             3.58            $738.55                                                                                        $738.55
296   AT&T ‐ Carol Stream, IL                                        3.56            $525.55                                                                                        $525.55
297   AT&T ‐ Carol Stream, IL                                        3.57            $772.94                                                                                        $772.94




                                                                                                                                      Page 18 of 42
298   Auman Company, Inc.                                            3.60            $119.63                                                                                        $119.63
299   Batner Pest Control, Inc.                                      3.64             $19.00                                                                                         $19.00
300   Bekins Fire & Safety                                           3.68             $40.13                                                                                         $40.13
301   Believe Electricians & Equipment Co.                           3.69            $532.43                                                                                        $532.43
302   Big Creek Crossing                                             3.75             $27.00                                                                                         $27.00
303   Biss Lock, Inc.                                                3.78            $218.82                                                                                        $218.82
304   Bob Smith Window Cleaning                                      3.83              $7.34                                                                                          $7.34
305   Bolton Construction                                            3.85            $190.10    93         04/17/2017                                              $190.10          $190.10
306   Boothill Corporation                                                                      279        06/26/2017                                              $614.55          $614.55
307   Brekke Mechanical                                              3.89             $28.19                                                                                         $28.19




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                                Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                           SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
NO.                      CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                   CLAIM NO.                                                                              AMOUNT
308   Brite Way of the Illinois Valley                             3.90             $24.00                                                                                           $24.00
309   Brite Way Professional Window Cleaning                       3.91             $38.52                                                                                           $38.52
310   Brite‐Way Professional Window Cleaning                       3.92             $64.20                                                                                           $64.20
311   Brite‐Way Window Cleaning, Inc.                              3.93            $208.00     64        03/30/2017                                               $208.00          $208.00
312   Brite‐Way Window Cleaning, Inc.                              3.94             $70.00                                                                                           $70.00




                                                                                                                                          Case 17-30112
313   Brite‐Way Window Service                                     3.95             $31.00                                                                                           $31.00
314   Brite‐Way Window Service                                     3.96             $15.00                                                                                           $15.00
315   Callabresi Heating & Cooling                                3.102            $106.25                                                                                         $106.25
316   Cannizzo Electric Inc.                                      3.105            $359.00                                                                                         $359.00
317   Carlson JPM Store Fixtures                                  3.108            $446.04                                                                                         $446.04
318   CE Mitchell + Sons                                          3.113            $150.00    202        04/24/2017                                               $150.00          $150.00
319   Central Fire & Safety                                       3.116             $23.54                                                                                           $23.54




                                                                                                                                          Doc 610
320   Central Heating & Air Conditioning Co.                      3.117            $105.00                                                                                         $105.00
321   Chapman's Mechanical                                        3.127            $205.70                                                                                         $205.70
322   Chappell Central Inc.                                       3.128            $159.82                                                                                         $159.82
323   Chioda Quality Window Cleaning                              3.130             $80.00                                                                                           $80.00
324   Chitty Garbage Service                                      3.131            $317.79                                                                                         $317.79




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325   Cintas Fire Protection                                      3.133            $107.92                                                                                         $107.92
326   Citywide Window Services                                    3.140             $60.04                                                                                           $60.04
327   Clear View Window                                           3.143             $30.00                                                                                           $30.00
328   Clearview Window Washing                                    3.144            $105.00                                                                                         $105.00
329   Cochran Construction                                        3.145           $113.70                                                                                          $113.70




                                                                                                                                    Page 19 of 42
330   Comfort Systems USA                                         3.148            $133.00                                                                                         $133.00
331   Commercial Air & Electric                                   3.149            $140.00                                                                                         $140.00
332   Consolidated Communications                                 3.150             $85.88                                                                                           $85.88
333   Cooper Consulting & Pro Mgmt Inc.                           3.153          $1,162.20    104        04/10/2017                                              $1,162.20        $1,162.20
334   Corporate Mall Services                                     3.154             $97.00                                                                                           $97.00
335   Countwise                                                   3.156            $922.50                                                                                         $922.50
336   CR Lighting & Electric                                      3.157             $94.80                                                                                           $94.80
337   Crossby Brownlie Inc.                                       3.159            $222.48                                                                                         $222.48
338   Crystal Clear Cleaning                                      3.160             $60.00                                                                                           $60.00
339   Curt's Lock & Key Service                                   3.161            $219.33                                                                                         $219.33




                                                                                                                                          Desc Ma
                                  Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                              SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                       CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                   CLAIM NO.                                                                            AMOUNT
340   Dakota Fire Extinguishers                                      3.163            $35.98                                                                                          $35.98
341   Damian Reiten Construction Inc.                                3.165           $375.00                                                                                         $375.00
342   Dayspring Window Cleaning                                      3.167            $32.38                                                                                          $32.38
343   Deluxe Business Forms                                          3.170            $62.69                                                                                          $62.69
344   Dependable Sanitation                                          3.171            $70.78                                                                                          $70.78




                                                                                                                                             Case 17-30112
345   Dermer Refrigeration, Inc.                                     3.172            $54.00                                                                                          $54.00
346   Diesel Dogs Trucking, LLC                                      3.175           $237.50                                                                                         $237.50
347   Doctor Door                                                    3.178           $240.00      97        04/20/2017                                              $240.00          $240.00
348   Don Slagter                                                    3.524           $265.00                                                                                         $265.00
349   Doug Jenings                                                   3.291            $25.00                                                                                          $25.00
350   Dunn Electrical Service                                        3.188           $155.95                                                                                         $155.95
351   E and H Enterprises of Alexandria, Inc                          3.19            $82.38       5        03/17/2017                                               $82.38           $82.38




                                                                                                                                             Doc 610
352   Edwards Electrical & Mechanical                                3.194           $400.00                                                                                         $400.00
353   Ensley Electrical Services                                     3.198           $313.48                                                                                         $313.48
354   Epoch                                                          3.199           $980.00                                                                                         $980.00
355   Escon Group                                                    3.200           $250.25                                                                                         $250.25
356   Executive Electric                                             3.201           $425.00                                                                                         $425.00




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357   Fargo Vacuum Sales & Service                                   3.204           $273.03     119        05/01/2017                                              $273.03          $273.03
358   Ficek Electric & Communication System                          3.208           $236.93                                                                                         $236.93
359   Fiddelke Heating & Air Conditioning, Inc.                      3.209           $117.70                                                                                         $117.70
360   Fineline Technologies Inc.                                     3.210           $232.11                                                                                         $232.11
361   Fire & Safety Equip III                                        3.212            $38.50                                                                                          $38.50




                                                                                                                                       Page 20 of 42
362   Fire Protection Specialist, LLC                                3.213            $40.09                                                                                          $40.09
363   Fire Suppression Services                                      3.214            $37.80                                                                                          $37.80
364   Fireguard Inc.                                                 3.215           $103.00                                                                                         $103.00
365   Fish Window Cleaning                                           3.216            $63.00                                                                                          $63.00
366   Fish Window Cleaning                                           3.217            $27.82                                                                                          $27.82
367   Fish Window Cleaning                                           3.218            $13.91                                                                                          $13.91
368   Fish Window Cleaning                                           3.219            $20.00      26         3/22/2017                                               $20.00           $20.00
369   Foley Electric Inc                                             3.220           $316.00                                                                                         $316.00
370   Fortney Refrigeration                                          3.223           $199.99                                                                                         $199.99
371   Freedom Electric Inc.                                          3.225           $106.05                                                                                         $106.05




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                                Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                           SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                   CLAIM NO.                                                                            AMOUNT
372   Frontier                                                    3.226            $668.50                                                                                        $668.50
373   Gary's Sewer & Drain                                        3.228            $100.00                                                                                        $100.00
374   General Repair Service Co                                   3.231            $200.00                                                                                        $200.00
375   Gering Valley Plumbing                                      3.233            $150.00                                                                                        $150.00
376   GMPC LLC                                                    3.236            $529.20                                                                                        $529.20




                                                                                                                                          Case 17-30112
377   Global Gold, Inc. (Golden Touch)                            3.237          $2,333.73    327        07/17/2017                                              $598.89          $598.89
378   Gonzales Contractors, LLC                                   3.239            $500.00                                                                                        $500.00
379   Goyette Mechanical                                          3.240            $735.00                                                                                        $735.00
380   Granite Telecommunications                                  3.242            $156.24                                                                                        $156.24
381   Greeley Lock and Key                                        3.244            $173.10    232        06/05/2017                                              $178.11          $178.11
382   Grunau Company                                              3.245             $80.44                                                                                         $80.44
383   H. E. Neumann Company                                       3.249            $196.10    322        07/06/2017                                              $832.10          $196.10




                                                                                                                                          Doc 610
384   Harrell‐Fish Inc                                            3.253            $175.00                                                                                        $175.00
385   Harvest Heating & Air Conditioning                          3.256           $188.50                                                                                         $188.50
386   Herman H. Moenkedick                                        3.379             $75.16                                                                                         $75.16
387   Hickory Tech                                                3.264             $70.02                                                                                         $70.02
388   Hindman/Person Heating & Air Conditioning                   3.265             $90.95                                                                                         $90.95




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                                                                                                                      Filed 03/21/18 Entered 03/21/18 13:05:43
389   Horton Electric Service                                     3.268            $208.47                                                                                        $208.47
390   Hovland's Inc                                               3.269            $150.87                                                                                        $150.87
391   Howie's Trash Service                                       3.270             $94.96                                                                                         $94.96
392   Hullinger Glass & Locks                                     3.271             $90.42                                                                                         $90.42
393   Integrated Facility Solutions                               3.279           $537.30                                                                                         $537.30




                                                                                                                                    Page 21 of 42
394   J. F. Ahern Co.                                             3.283            $258.50     68        04/07/2017                                              $258.50          $258.50
395   James Kelly's Home Improvements                             3.285            $729.74                                                                                        $729.74
396   JB's Handyman Service                                       3.288             $75.88                                                                                         $75.88
397   JC Security LLC                                             3.289            $165.90    219        05/25/2017                                              $717.15          $165.90
398   JDS Mechanical Inc.                                         3.290            $142.50                                                                                        $142.50
399   Jensen's Handyman & Remodeling                              3.293            $236.73                                                                                        $236.73
400   Jetter Clean, Inc.                                          3.294            $150.00                                                                                        $150.00
401   J‐N‐T Security Services                                     3.282             $40.50                                                                                         $40.50
402   John's Great American Window Cleaning Co.                   3.302             $44.00                                                                                         $44.00
403   John's Heating & A/C                                        3.303            $211.00                                                                                        $211.00




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                                  Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                                SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                       CREDITOR NAME                                      SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                 CREDITOR #                   CLAIM NO.                                                                            AMOUNT
404   K.C. Electric Supply                                             3.311           $260.91                                                                                         $260.91
405   Kalins Indoor Comfort Inc.                                       3.312           $246.23                                                                                         $246.23
406   Kanndo Professional Services                                     3.313           $117.70      35        03/28/2017                                              $117.70          $117.70
407   Kevin's Unlimited Service Company                                3.321            $16.25                                                                                          $16.25
408   Kimbro Mechanical                                                3.322           $162.50                                                                                         $162.50




                                                                                                                                               Case 17-30112
409   Kucera Plumbing, Heating, Cooling and Sheet Metal LLC            3.326           $240.33      33        03/27/2017                                              $240.33          $240.33
410   KW Electric Inc.                                                 3.328            $979.19                                                                                        $979.19
411   Kyle J. Sandy                                                    3.329            $240.00     41        03/30/2017                                              $240.00          $240.00
412   Larry's Window Service                                           3.330             $34.98                                                                                         $34.98
413   Larsen Property Services                                         3.331            $358.02                                                                                        $358.02
414   Limeblue                                                         3.336          $1,378.27                                                                                      $1,378.27
415   Lindsay Crystal                                                  3.338            $153.20                                                                                        $153.20




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416   Literati Information                                             3.339            $148.40                                                                                       $148.40
417   Lloyd's Window Washing                                           3.340             $96.00                                                                                         $96.00
418   Love By Design By Design L.L.C.                                  3.342           $176.40                                                                                        $176.40
419   Luckinbill Inc.                                                  3.334            $210.00    234        06/07/2017                                              $213.15          $213.15




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420   Malbrit Mechanical Inc.                                          3.350             $90.00                                                                                         $90.00




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421   Manhattan Town Center                                            3.352            $350.00                                                                                        $350.00
422   Marc Brick Inc                                                   3.354            $257.80                                                                                        $257.80
423   Master Electric, Inc                                             3.356            $232.00                                                                                        $232.00
424   Mathison's                                                       3.357            $334.71                                                                                       $334.71
425   Maxsent                                                          3.358            $183.03                                                                                        $183.03




                                                                                                                                         Page 22 of 42
426   MC Electric, Inc.                                                3.360            $391.65                                                                                        $391.65
427   Meister Electric Inc.                                            3.364             $82.00                                                                                         $82.00
428   Metro Waste Services Co                                          3.366             $68.57                                                                                         $68.57
429   Mike's Lock & Key Service                                        3.373            $124.00                                                                                        $124.00
430   Miller Window Service                                            3.374             $65.27    114        04/27/2017                                               $65.27           $65.27
431   Minnkota                                                         3.378            $209.87                                                                                        $209.87
432   Mount's Lock & Key Inc.                                          3.386             $90.00                                                                                         $90.00
433   Mr. Handyman                                                     3.387            $324.00                                                                                        $324.00
434   Mr. Squeegee                                                     3.388             $72.00                                                                                         $72.00
435   Muth Electric Inc.                                               3.394          $1,252.69                                                                                      $1,252.69




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                           ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                             AMOUNT
436   National Security Consultant                                  3.397           $101.81                                                                                         $101.81
437   Naylor Heating and Refrigeration                              3.398             $95.44     66        04/05/2017                                                $95.44           $95.44
438   Nebraska Safety and Fire Equipment, Inc.                      3.400             $32.10                                                                                          $32.10
439   Neighborhood Services                                         3.401             $75.00                                                                                          $75.00
440   Nemont                                                        3.406             $98.29                                                                                          $98.29




                                                                                                                                             Case 17-30112
441   No Streaking                                                  3.410            $105.44                                                                                         $105.44
442   Noble Locksmith Service                                       3.411             $69.00                                                                                          $69.00
443   Northern Lakes Window Cleaning                                3.414             $29.92                                                                                          $29.92
444   Northwestern Ohio Security Systems, Inc.                      3.416            $119.93                                                                                         $119.93
445   Northwoods Construction of the Iron Range, Inc.               3.417            $328.00                                                                                         $328.00
446   O'Donnell Corporation                                         3.418            $435.00                                                                                         $435.00
447   Oliver Tri County Heating & Air, Inc.                         3.423            $168.50                                                                                         $168.50




                                                                                                                                             Doc 610
448   Olympic IV Mall Services                                      3.424            $106.25                                                                                         $106.25
449   Olympic Mall Services                                         3.425            $111.38                                                                                         $111.38
450   Oneida Realty Company                                         3.427             $10.84                                                                                          $10.84
451   Orkin                                                         3.430            $125.00                                                                                         $125.00
452   Orkin Pest Control                                            3.431             $88.00                                                                                          $88.00




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453   Orkin, Inc.                                                   3.432             $57.97                                                                                          $57.97
454   Orkin, Inc.                                                   3.433            $106.58                                                                                         $106.58
455   Orkin, Inc.                                                   3.434             $55.00                                                                                          $55.00
456   Osteen & Lemmons                                              3.435            $201.20                                                                                         $201.20
457   Overhead Door Company of Webster County                       3.437          $1,049.00                                                                                       $1,049.00




                                                                                                                                       Page 23 of 42
458   Peopleready Inc.                                              3.444            $552.61                                                                                         $552.61
459   Penn Square Mall LLC                                           2.1*            $267.81    125           5/2/2017                                              $267.81          $267.81
460   Pestbusters, Inc.                                             3.448             $48.15                                                                                          $48.15
461   Peters Heating and Air Conditioning Inc.                      3.449            $175.00                                                                                         $175.00
462   Pioneer Sewer & Drain                                         3.451            $140.00                                                                                         $140.00
463   Pither Plumbing                                               3.452            $261.23                                                                                         $261.23
464   Plumbing Perfection, Inc.                                     3.453            $166.26                                                                                         $166.26
465   Pop‐A‐Lock of Tri Cities                                      3.456             $56.94                                                                                          $56.94
466   Popular Basics                                                3.457            $574.23                                                                                         $574.23
467   Precise Filter Service                                        3.460            $195.68                                                                                         $195.68




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                            AMOUNT
468   Precision Glass LLC                                           3.461             $65.00                                                                                         $65.00
469   Precision Locksmithing                                        3.462            $109.72                                                                                        $109.72
470   Premier Mechanical                                            3.464            $276.00                                                                                        $276.00
471   Presto‐X                                                      3.465             $46.43                                                                                         $46.43
472   Professional Fire                                             3.466             $23.93                                                                                         $23.93




                                                                                                                                            Case 17-30112
473   Proshield Fire & Security                                     3.468            $203.73                                                                                        $203.73
474   R&R Window Washing Service                                    3.472             $53.50                                                                                         $53.50
475   R/S Electric Construction                                     3.473          $1,099.67                                                                                      $1,099.67
476   Ralph's Electric Inc                                          3.474            $114.32                                                                                        $114.32
477   Randy's Window Cleaning                                       3.475              $5.00                                                                                          $5.00
478   Rapid Garage Door & Awning                                    3.476            $309.95                                                                                        $309.95
479   Reliable Pest Solutions                                       3.477             $43.91                                                                                         $43.91




                                                                                                                                            Doc 610
480   Richards Heating and Cooling                                  3.481             $84.00     62        04/03/2017                                               $84.00           $84.00
481   Robards Pest Control                                          3.482             $19.42                                                                                         $19.42
482   Robert's Plumbing and Heating Inc.                            3.484             $60.00                                                                                         $60.00
483   Robinson Electric                                             3.486            $115.00                                                                                        $115.00
484   Rockford Heating & Air Conditioning                           3.487            $160.75                                                                                       $160.75




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                                                                                                                        Filed 03/21/18 Entered 03/21/18 13:05:43
485   Ron Lepic                                                     3.334             $50.00                                                                                         $50.00
486   Roth Bros., Inc.                                              3.491             $95.00                                                                                         $95.00
487   Runyon Lock Service                                           3.493             $77.04                                                                                         $77.04
488   Ryder Truck Rental, Inc.                                      3.494            $134.12    314        07/01/2017                                              $134.12          $134.12
489   S.V.J. Electric Co., Inc.                                     3.495            $125.70                                                                                        $125.70




                                                                                                                                      Page 24 of 42
490   Sammy Phillips Electric                                       3.498            $154.79                                                                                        $154.79
491   Schwickerts Tecta America, LLC                                3.502            $302.06     30        03/27/2017                                              $302.06          $302.06
492   SCR Inc.                                                      3.505            $211.99                                                                                        $211.99
493   Sean's Window Cleaning                                        3.506             $64.65                                                                                         $64.65
494   Service Cleaning Midtown LLC                                  3.510             $60.00                                                                                         $60.00
495   Service Experts                                               3.511             $69.00                                                                                         $69.00
496   Service Specialists, Inc.                                     3.512            $301.47                                                                                        $301.47
497   Sheet Metal Specialties                                       3.516            $140.00                                                                                        $140.00
498   Shortprinter.com                                              3.518             $66.65                                                                                         $66.65
499   SimplexGrinnell                                               3.522             $72.50    273        06/22/2017                                               $72.50           $72.50




                                                                                                                                            Desc Ma
                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                    (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                            SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                      CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                             CREDITOR #                   CLAIM NO.                                                                            AMOUNT
500   Smithereen Pest                                              3.527            $36.00                                                                                          $36.00
501   Snell Services Inc.                                          3.528           $630.58                                                                                         $630.58
502   Source Refrigeration & HVAC, Inc.                            3.532           $238.61                                                                                         $238.61
503   Southwest Pesticide, Inc.                                    3.533            $92.36                                                                                          $92.36
504   Spearmint Airmasters, Inc. d/b/a/ Airmasters HVAC/R           3.27           $240.00     296        06/29/2017                                              $240.00          $240.00




                                                                                                                                           Case 17-30112
      and Sheet Metal
505   SRT                                                          3.535            $90.51                                                                                          $90.51
506   Staff Electric Co Inc.                                       3.537           $737.98                                                                                         $737.98
507   Sturm Heating & Air Conditioning                             3.564           $138.59                                                                                         $138.59
508   Suburban Electrical/ Engineers, Inc                          3.565           $293.01     270        06/08/2017                                              $293.01          $293.01
509   Summit Companies                                             3.566            $45.00     236        06/09/2017                                               $45.00           $45.00
510   Superior Mechanical                                          3.568           $532.00                                                                                         $532.00




                                                                                                                                           Doc 610
511   Swiftair                                                     3.571           $684.01                                                                                         $684.01
512   T&M Electric Inc.                                            3.573           $309.09                                                                                         $309.09
513   T.H. Eifert                                                  3.574           $306.25     240        06/14/2017                                              $306.25          $306.25
514   TEC Electric Company                                         3.576           $187.50                                                                                         $187.50
515   Temp Right Service Inc.                                      3.577            $99.00                                                                                          $99.00




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                                                                                                                       Filed 03/21/18 Entered 03/21/18 13:05:43
516   Temperature Pros, LLC                                        3.576           $105.00                                                                                         $105.00
517   Terminix Processing Center                                   3.580           $135.31                                                                                         $135.31
518   Terry's Heating & Air Conditioning                           3.582            $48.94                                                                                          $48.94
519   The Steritech Group Inc.                                     3.587            $85.00                                                                                          $85.00
520   The Window Washers                                           3.588            $64.00                                                                                          $64.00




                                                                                                                                     Page 25 of 42
521   Thorne Plumbing, Heating, Air Conditioning Inc.              3.590           $128.72                                                                                         $128.72
522   Total Clean Window                                           3.592            $20.00                                                                                          $20.00
523   Town and Country Electric                                    3.593            $91.80                                                                                          $91.80
524   Tri‐State Fire Extinguisher Company                          3.594            $66.33                                                                                          $66.33
525   Ty the Window Guy                                            3.595            $80.00                                                                                          $80.00
526   Uline                                                        3.596           $457.95                                                                                         $457.95
527   United Team Mechanical                                       3.598           $276.00                                                                                         $276.00
528   Van Ert Electric Company                                     3.600           $186.95                                                                                         $186.95
529   Vanenk Electric, Inc.                                        3.602           $673.55                                                                                         $673.55
530   Vector Security, Inc.                                        3.603            $52.06                                                                                          $52.06




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                                    Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                                SCHEDULE E/F                  PROOF OF                                                                             ALLOWED CLAIM
  NO.                       CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                 CREDITOR #                   CLAIM NO.                                                                               AMOUNT
  531    Verizon                                                       3.608            $68.72                                                                                             $68.72
  532    Village of Greendale                                          3.610            $35.00                                                                                             $35.00
  533    Volar Fashion                                                 3.611         $1,423.80                                                                                          $1,423.80
  534    W.J. Leasea Electric, Inc.                                    3.612           $161.48                                                                                            $161.48
  535    Waldinger Corporation                                         3.613           $622.98                                                                                            $622.98




                                                                                                                                               Case 17-30112
  536    Wash Away All                                                 3.616           $256.20                                                                                            $256.20
  537    Washed White                                                  3.617            $47.08                                                                                             $47.08
  538    We Do Windows                                                 3.622            $60.00                                                                                             $60.00
  539    West Central Sanitation                                       3.624           $255.74                                                                                            $255.74
  540    Western Wyoming Lock                                          3.627           $145.25                                                                                            $145.25
  541    Williams General Construction                                 3.631           $206.43                                                                                            $206.43
  542    Williams Mechanical                                           3.632           $541.19                                                                                            $541.19




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  543    Window Cleaning and Janitorial Service                        3.635            $50.00                                                                                             $50.00
  544    Windstream                                                    3.636           $244.60                                                                                            $244.60
  545    Woodman Refrigeration, Inc.                                   3.638           $123.77                                                                                            $123.77
  546    Woods Electrical Contractors Inc.                             3.639           $292.50                                                                                            $292.50
  547    WSC White Service Company                                     3.641           $135.31                                                                                            $135.31




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TOTAL:                                                                             $106,124.62                                                                        $23,600.77      $105,425.31




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                                                                                                                                                                                      EXHIBIT B




                                                                                                                                               Desc Ma
Case 17-30112   Doc 610   Filed 03/21/18 Entered 03/21/18 13:05:43   Desc Main
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                                  EXHIBIT C

                   (Class 3 - Effective Date Unsecured Claims)
                                            Class 3 ‐ Effective Date Unsecured Claims
                                                   SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
 NO.                        CREDITOR NAME                                                   DATE POC FILED                                                                   STORE #
                                                    CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
LANDLORDS AND MALLS ‐ CBL
  1 Ashville Mall CMBS LLC                            2.1*          $4,958.33     181          5/15/2017      $69,416.66                                         $4,958.33    218
  2 Brookfield Square Joint Venture                   2.1*          $5,833.33     194          5/15/2017     $105,688.33                                         $5,833.33    207
  3 Burnsville Center SPE LLC                         2.1*          $6,400.28     192          5/15/2017      $83,203.64                                         $6,400.28    213
  4 CBL/Monroeville LP                                2.1*          $6,629.53     175          5/15/2017      $86,183.89                                         $6,629.53    181
  5 Cherryvale Mall LLC                               2.1*          $4,750.00     188          5/15/2017      $62,170.00                                         $4,750.00    143
  6 Dakota Square Mall CMBS LLC                       2.1*         $16,904.34     187          5/15/2017     $142,926.42                                        $16,247.34     26




                                                                                                                                     Case 17-30112
  7 Frontier Mall Assoc. LP                           2.1*          $6,713.53     186          5/15/2017      $84,274.43                                         $6,713.53    129
  8 Honey Creek Mall LLC                              2.1*         $15,739.89     190          5/15/2017     $130,255.00                                        $15,739.89    271
  9 Janesville Mall LP                                2.1*          $4,583.33     191          5/15/2017      $59,583.33                                         $4,583.33     46
 10 JG Winston‐Salem LLC                              2.1*          $8,496.08     183          5/15/2017     $110,539.12                                         $8,496.08    219
 11 Kirkwood Mall Acquisition LLC                     2.1*         $11,063.22     193          5/15/2017      $80,506.22                                        $10,569.53      4
 12 Layton Hills Mall CMBS LLC                        2.1*          $7,945.38     171          5/15/2017      $21,858.18                                         $7,945.38     94
 13 Madison/East Towne LLC                            2.1*          $9,041.67     189          5/15/2017     $121,063.08                                         $9,041.67     98
 14 Meridian Mall LP                                  2.1*          $6,464.28     182          5/15/2017      $66,287.23                                         $6,011.14     96




                                                                                                                                     Doc 610
 15 Mid Rivers Mall CMBS LLC                          2.1*          $4,770.25     172          5/15/2017      $63,255.37                                         $4,770.25    234
 16 Northpark Mall/Joplin LLC                         2.1*         $12,711.74     174          5/15/2017      $52,338.56                                        $12,711.74    236
 17 Parkdale Crossing CMBS LLC                        2.1*         $15,330.94     184          5/15/2017     $178,342.69                                        $15,330.94    174
 18 South County Shoppingtown LLC                     2.1*         $10,794.70     180          5/15/2017      $19,747.98                                        $10,794.70    235
 19 St. Clair Square SPE LLC                          2.1*          $4,687.50     178          5/15/2017      $60,937.50                                         $4,687.50    141




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LANDLORDS AND MALLS ‐ GGP
 20 Apache Mall LLC                                   2.1*         $22,684.06     161          5/10/2017     $383,010.53                                        $22,684.06    220
 21 Boise Mall LLC                                    2.1*         $13,744.90     163          5/10/2017     $178,473.78                                        $13,744.90     74
 22 Columbia Mall LLC                                 2.1*          $6,667.50     159          5/10/2017     $102,472.80                                         $5,217.72    232
 23 Florence Mall LLC                                 2.1*         $13,127.61     156          5/10/2017     $118,054.77                                        $13,127.61    148
 24 GGP‐Four Seasons LP                               2.1*          $8,151.08     154          5/10/2017      $87,500.50                                         $6,761.50    217
 25 GGP‐Glenbrook LLC                                 2.1*          $1,783.08     144          5/10/2017      $43,303.03                                         $1,783.08    108




                                                                                                                               Page 28 of 42
 26 GGP‐Grandville LLC                                2.1*          $8,689.61     153          5/10/2017     $140,626.84                                         $8,689.61     80
 27 Grand Teton Mall LLC                              2.1*         $13,393.03     145          5/10/2017     $126,696.70                                        $13,393.03     71
 28 Greenwood Mall LLC                                2.1*         $14,917.20     142          5/10/2017     $190,474.44                                        $14,917.20     92
 29 Jordan Creek Town Center LLC                      2.1*         $19,484.56     141          5/10/2017     $250,013.57                                        $18,638.21     73
 30 Lakeside Mall Property LLC                        2.1*          $9,880.46     143          5/10/2017      $79,566.51                                         $6,806.31    145
 31 North Town Mall LLC                               2.1*         $20,769.61     150          5/10/2017      $86,181.60                                        $20,769.61     75
 32 Oak View Mall LLC                                 2.1*         $10,017.80     148          5/10/2017     $128,320.66                                         $9,870.82    221
 33 Oakwood Hills Mall LLC                            2.1*         $14,772.47     149          5/10/2017     $189,518.99                                        $14,772.47    104
 34 PDC‐Eastridge Mall LLC                            2.1*         $13,356.73     157          5/10/2017     $169,092.49                                        $13,356.73    128
 35 River Hills Mall LLC                              2.1*         $15,034.91     147          5/10/2017     $164,814.94                                        $15,034.91     12




                                                                                                                                     Desc Ma
                                             Class 3 ‐ Effective Date Unsecured Claims
                                                    SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
NO.                     CREDITOR NAME                                                        DATE POC FILED                                                                   STORE #
                                                     CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
 36 Spokane Mall LLC                                   2.1*         $14,632.26     152          5/10/2017     $192,325.36                                        $14,632.26     76
 37 St. Cloud Mall LLC                                 2.1*         $24,456.61     160          5/10/2017     $360,884.99                                        $23,970.38     27
 38 Westroads Mall LLC                                 2.1*          $6,308.33     151          5/10/2017      $69,278.15                                         $6,208.33     61
LANDLORDS AND MALLS ‐ SIMON PROPERTY GROUP
 39 Battlefield Mall LLC                               2.1*         $15,403.42     124           5/3/2017     $161,056.16                                        $15,007.64    230
 40 Columbia Mall P'Ship                               2.1*         $15,657.89     128           5/3/2017     $204,931.55                                        $13,637.52    163
 41 Empire Mall, LLC                                   2.1*         $28,250.45     203          5/18/2017     $373,688.33                                        $28,250.45     11




                                                                                                                                      Case 17-30112
 42 Greenwood Park Mall LLC                            2.1*         $17,977.76     123           5/3/2017     $235,760.01                                        $16,207.17    112
 43 Mall at White Oaks LLC                             2.1*          $9,401.93     121           5/3/2017     $132,188.72                                         $8,457.59    202
 44 Simon Capital Limited P'Ship                       2.1*         $14,205.80     133           5/3/2017     $183,300.64                                        $12,831.04    106
 45 Simon Property Group LP                            2.1*         $15,219.47     130           5/3/2017     $199,259.65                                        $13,723.21      2
 46 Simon Property Group LP                            2.1*          $7,964.38     100          4/20/2017      $99,683.20                                         $4,110.64    109
 47 Simon Property Group LP                            2.1*         $13,641.23     122           5/3/2017     $118,452.71                                        $13,141.20    272
 48 Southridge Limited P'Ship                          2.1*          $6,224.49     120           5/3/2017      $68,386.66                                         $5,421.33     48
 49 SPG Independence Ctr. LLC                          2.1*         $26,059.59     126           5/3/2017     $297,212.35                                        $25,328.71     54




                                                                                                                                      Doc 610
 50 Woodland Hills Mall LLC                            2.1*          $9,505.23     127           5/3/2017      $41,189.10                                         $8,656.90    199
LANDLORDS AND MALLS ‐ WASHINGTON PRIME
 51 Dayton Mall II, LLC                                2.1*          $7,650.33     255          6/16/2017      $66,614.59                                         $5,077.33    115
 52 Glimcher MJC LLC                                   2.1*          $9,877.22     254          6/16/2017      $22,669.72                                         $9,877.22    81
 53 Glimcher Northtown Venture LLC                     2.1*         $14,019.07     253          6/16/2017     $180,648.39                                        $13,678.78    212




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 54 Grand Central Parkersburg LLC                      2.1*          $8,830.33     252          6/16/2017      $30,506.12                                         $8,830.33    183
 55 Mall at Great Lakes LLC                            2.1*          $9,041.67     248          6/16/2017     $117,993.79                                         $9,041.67     90
 56 Mall at Lima LLC                                   2.1*         $13,791.19     249          6/16/2017      $94,855.75                                        $13,791.19    116
 57 Mall at Longview, LLC                              2.1*          $6,511.32     110          4/25/2017      $87,415.86                                         $6,511.32    179
 58 Maplewood Mall LLC                                 2.1*         $12,379.93     250          6/16/2017     $160,939.09                                        $12,379.93    226
 59 MFC Beavercreek LLC                                2.1*         $15,625.00     251          6/16/2017      $91,406.25                                        $15,625.00    114
 60 Morgantown Commons LP                              2.1*         $14,038.23     260          6/16/2017      $82,899.26                                        $12,724.30    184




                                                                                                                                Page 29 of 42
 61 Muncie Mall LLC                                    2.1*         $13,985.79     259          6/16/2017     $151,457.68                                        $11,313.95    110
 62 Northwoods Shopping Center LLC                     2.1*          $8,342.97     256          6/16/2017     $109,883.17                                         $8,342.97    203
 63 SM Mesa Mall LLC                                   2.1*         $12,154.93     257          6/16/2017      $97,721.66                                        $12,154.93    167
 64 SM Rushmore Mall LLC                               2.1*         $13,996.42     258          6/16/2017     $181,090.31                                        $13,996.42     18
 65 Southern Park Mall LLC                             2.1*          $7,500.00     265          6/16/2017     $100,125.00                                         $7,500.00    117
 66 West Ridge Mall LLC                                2.1*          $8,034.18     262          6/16/2017     $106,135.14                                         $8,034.18    255
LANDLORDS AND MALLS ‐ MISC.
 67 Amarillo Mall LLC                                  2.1*          $1,414.70     166          5/11/2017      $43,747.99                                         $1,414.70    171
 68 Birchwood Mall LLC                                 2.1*          $4,200.52     287          6/26/2017       $4,559.07                                         $4,200.52    223
 69 C. Michelle Panovich as Court Receiver             2.1*          $4,583.33     243          6/15/2017      $64,421.29                                         $4,583.33     51
 70 Central Mall Realty Holding LLC                    2.1*          $7,719.11     118           5/1/2017     $372,389.29                                         $7,719.11    251




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                                                            Class 3 ‐ Effective Date Unsecured Claims
                                                                    SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
 NO.                         CREDITOR NAME                                                                   DATE POC FILED                                                                   STORE #
                                                                     CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
 71 Colony Square Mall LLC                                             2.1*          $5,967.13     197          5/16/2017      $63,768.24                                         $5,967.13    152
 72 Conestoga Mall 2002 LLC                                            2.1*          $6,976.17     316           7/1/2017      $88,525.33                                         $6,976.17    65
 73 Crossroads Mall 1999 LLC                                           2.1*          $4,662.87     317           7/1/2017      $22,300.63                                         $4,662.87    132
 74 DROP‐HT LLC                                                        2.1*          $5,240.53      8           3/17/2017       $2,148.29                                         $2,148.29    66
 75 Fort Smith Mall LLC                                                2.1*         $11,299.31     167          5/11/2017     $151,720.41                                        $11,299.31    210
 76 Frenchtown Square Partnership                                      2.1*         $27,207.26     225           6/2/2017      $22,874.59                                        $22,874.59    275
 77 Great Plains Clinic Med. Enterpr. LLC                              2.1*          $5,237.23     140           5/9/2017      $69,563.35                                         $5,237.23     19




                                                                                                                                                      Case 17-30112
 78 Greeley Mall CO LLC                                                2.1*          $4,345.50     111          4/25/2017       $4,345.50                                         $4,345.50    166
 79 Hayes Mall LLC                                                     2.1*          $6,028.63      6           3/17/2017       $5,929.89                                         $5,929.89    214
 80 Kennedy Mall Ltd                                                   2.1*         $10,968.40     227           6/2/2017      $10,968.40                                        $10,968.40    138
 81 Macerich South Plains LP                                           2.1*         $11,564.95     310          6/30/2017     $150,477.60                                        $11,564.95    170
 82 Magic Valley Mall LLC                                              2.1*          $7,506.21     294          6/29/2017      $98,761.72                                         $7,279.20     72
 83 Newgate Mall Equities LLC                                          2.1*         $14,823.40     319           7/3/2017     $173,440.80                                        $14,453.40     78
 84 Nodana Petroleum Corp                                              2.1*         $31,648.88     113          4/27/2017      $29,145.00                                        $29,145.00     20
 85 North Platte Assoc. LP                                             2.1*          $3,243.59       7          3/17/2017       $3,725.95                                         $3,243.59     69




                                                                                                                                                      Doc 610
 86 NSP LLC                                                            2.1*          $4,492.74     10           3/21/2017       $4,363.94                                         $4,363.94    68
 87 Ohio Valley Mall Company                                           2.1*         $12,962.40     223           6/2/2017       $8,786.88                                         $8,786.88    100
 88 PR Valley View LP                                                  2.1*         $14,402.60     107          4/24/2017     $160,312.91                                         $2,910.72    105
 89 Quincy Mall Inc.                                                   2.1*          $8,856.35      25          3/22/2017       $8,856.35                                         $8,856.35    147
 90 Rimrock Owner LP                                                   2.1*         $18,299.46     302          6/29/2017     $278,913.46                                        $18,299.46     15




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 91 RPI Turtle Creek Mall LLC                                          2.1*         $10,001.51     286          6/26/2017     $141,602.09                                        $10,001.51    209
 92 Silver Lake Mall LLC                                               2.1*          $6,449.94     288          6/26/2017      $86,733.18                                         $6,449.94     13
 93 Southern Hills Mall LP                                             2.1*         $26,905.51     313          6/30/2017     $403,910.80                                        $21,164.00     28
 94 Star‐West Gateway LLC                                              2.1*         $13,155.84     301          6/29/2017     $291,138.40                                        $13,155.84     60
 95 Taubman Auburn Hills Assoc LP                                      2.1*         $28,291.02     169          5/12/2017     $122,570.08                                        $10,967.20     49
 96 The Marketplace                                                    2.1*          $5,575.00     164          5/10/2017      $55,404.00                                         $5,575.00    185
 97 Urbanical Manhattan Town Center LLC                                2.1*         $11,886.89     218          5/24/2017     $142,642.68                                        $11,886.89    254




                                                                                                                                                Page 30 of 42
MERCHANTS, SERVICE PROVIDERS AND MISC.
 98 AFLAC                                                               3.24         $2,074.00                                                                                   $2,074.00
 99 Alliant Energy                                                      3.31         $2,791.13                                                                                   $2,791.13
100 American Solutions for Business                                     3.39         $3,047.76     204         04/24/2017       $3,118.09                                        $3,118.09
101 Argo Partners (All Seasons Heating & Cooling)                      3.30         $23,844.00                                                                                  $23,844.00
102 Artco Global Group LLC                                             3.52         $11,931.75     29          03/27/2017      $11,926.15                                       $11,926.15
103 B.E. Capital Management Fund LP (Finesse Novelty Corp)             3.211         $5,928.21     24          03/21/2017      $16,206.90                                       $16,206.90
104 BE Capital Management Fund LP, as assignee of Anfield Apparel       3.47       $248,591.88     292                        $249,841.09                                      $249,841.09
    Group, Inc.
105 BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.             3.308        $63,869.33     137         05/08/2017      $80,536.85                                        $63,869.33




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                                                               Class 3 ‐ Effective Date Unsecured Claims
                                                                      SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
NO.                          CREDITOR NAME                                                                     DATE POC FILED                                                                   STORE #
                                                                       CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
106 Bradford Capital Holding, LP ‐ (Mallory Alexander International      3.351       $138,262.49     237         06/08/2017      $44,132.22                                        $44,132.22
    Logistics NY L.L.C.)
107 Brown & Saenger                                                       3.97         $4,603.44                                                                                   $4,603.44
108 Carmichael International                                             3.109        $90,641.79                                                                                  $90,641.79
109 Cavalini Inc. dba Ci Sono                                            3.112       $171,430.98     233           6/6/2017     $177,004.50                                      $136,642.00
110 Central Temperature Equipment Service Inc.                           3.118         $2,520.21                                                                                   $2,520.21
111 Contempo Limited                                                     3.152        $22,032.05 37 and 340      03/28/2017      $23,519.19                                       $23,519.19




                                                                                                                                                        Case 17-30112
112 CRJ Solutions                                                        3.158         $1,955.46                                                                                   $1,955.46
113 D.L. Morse & Associates, Inc.                                        3.176       $137,033.32      47         04/03/2017      $12,434.40                                       $12,434.40
114 D.L. Morse & Associates, Inc.                                        3.176                        48         04/03/2017      $15,459.40                                       $15,459.40
115 D.L. Morse & Associates, Inc.                                        3.176                        49         04/03/2017      $53,154.20                                       $53,154.20
116 D.L. Morse & Associates, Inc.                                        3.176                        50         04/04/2017       $9,073.62                                        $9,073.62
117 D.L. Morse & Associates, Inc.                                        3.176                        53         04/03/2017      $46,911.70                                       $46,911.70
118 Dakota West Contracting                                              3.164         $1,525.00                                                                                   $1,525.00
119 DLA Company, LLC                                                     3.177        $77,383.00                                                                                  $77,383.00




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120 Ed Grace (S&S Shambaugh)                                             3.495           $970.00     335          8/18/2017        $970.00                                           $970.00
121 Edgemine Inc.                                                        3.193        $70,182.35     198          5/16/2017      $86,166.00                                       $67,737.50
122 Euler Hermes Agent for Finance One, Inc.                                                          43          3/31/2017     $107,700.63                                      $107,700.63
123 Euler Hermes Agent for Project 28 Clothing                           3.467         $1,896.00      44          3/31/2017       $3,557.50                                        $1,607.50
124 Euler Hermes N. A. Agent for Active USA Inc.                          3.19         $2,825.04      45         03/31/2017       $3,060.00                                        $3,060.00




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    Claim 000409289
125 Euler Hermes N.A. (Aimee Lynn)                                       3.42          $5,285.53     330         07/19/2017       $5,412.00                                        $5,412.00
126 Euler Hermes N.A. Agent for Bibby Financial Services                 3.88        $185,707.75     277          6/23/2017     $189,895.50                                      $189,895.50
    (Brand Headquarters, LLC)
127 Euler Hermes N.A. Agent for E.L.I.S. LLC                             3.191        $60,237.17     199          5/17/2017      $61,496.50                                       $61,496.50
128 Fantas Eyes Inc.                                                     3.203        $43,452.63     300          6/30/2017      $48,856.78                                        $35,588.31
129 Fashion Forms Ce Soir Lingerie Co. Inc.                              3.206         $2,565.15                                                                                    $2,565.15




                                                                                                                                                  Page 31 of 42
130 General Information Services                                          3.23         $3,559.00     168         05/12/2017       $3,615.00                                         $3,615.00
131 Hana Financial, Inc. (Heart & Hips)                                                              61          04/03/2017      $17,670.00                                        $17,670.00
132 Home Heating‐Plumbing Air Conditioning Inc                           3.267         $1,904.50                                                                                    $1,904.50
133 HYFVE                                                                3.272         $2,088.99                                                                                    $2,088.99
134 Jiangsu GTIG Esen Co., LTD                                           3.295        $32,591.00                                                                                   $32,591.00
135 Jiangsu Guotai Huasheng Industrial Co., Ltd.                         3.296        $95,044.10     206         05/19/2017      $95,206.10                                        $95,044.10
136 Jiangsu Guotai International Group Guomao Co., Ltd                   3.297        $59,065.00     207         05/19/2017      $88,714.53                                        $59,065.00
137 Jjiangsu Sainty Glorious Trade Co., Ltd                              3.298        $89,992.20     212         05/23/2017      $89,992.20                                        $89,992.20
138 Joe Benbasset                                                        3.301        $24,204.97                                                                                   $24,204.97
139 Just Julez Inc.                                                      3.309         $8,367.24      84         04/11/2017       $8,538.00                                         $8,367.24
140 Justin Miller                                                        3.375         $6,400.00                                                                                    $6,400.00




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                                                                  Class 3 ‐ Effective Date Unsecured Claims
                                                                           SCHEDULE E/F      SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
NO.                            CREDITOR NAME                                                                           DATE POC FILED                                                                   STORE #
                                                                            CREDITOR #        AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
141   Karndean Designflooring                                                 3.314           $32,293.42                                                                                  $32,293.42
142   Kash Apparel, LLC                                                       3.315          $109,814.88     305         06/30/2017      $82,300.00                                       $82,300.00
143   Latitude, LLC                                                                                          51          04/03/2017      $23,500.00                                       $23,500.00
144   LeVeck Lighting Products and Maintenance                                3.335            $9,259.75      52         04/03/2017      $10,015.61                                       $10,015.61
145   Lux Accessories Ltd                                                     3.345           $14,997.95     266          6/20/2017      $15,622.87                                        $3,656.25
146   Magnetic Media Online                                                   3.347           $11,608.44                                                                                  $11,608.44
147   Majco Apparel Inc.                                                      3.349           $22,844.78      3          03/15/2017      $22,844.78                                       $22,844.78




                                                                                                                                                                Case 17-30112
148   Marco Technologies LLC                                             Schedule G ‐ 2.38                   269         05/22/2017     $125,042.55                                       $41,353.16
149   Midnite Express Incorporated                                            3.371           $34,288.85      39         03/29/2017      $34,288.85                                       $34,288.85
150   Milberg Factors, Inc.                                                                                  88          04/13/2017     $132,152.65                                      $132,152.65
       *Jade Marketing Group, Inc. ‐ $33,612.45
       *Just One ‐ $5,670.00
       *Carole Accessories ‐ $10,030.80
       *Pan Oceanic ‐ $7,846.50
       *KNY Clothing, Inc. dba Lashes ‐ $21,308.50




                                                                                                                                                                Doc 610
       *26 International Inc. ‐ $53,684.40
151   Mood Media North America                                                3.383            $4,690.92     134         05/05/2017       $4,072.15                                        $4,072.15
152   Motive Enterprise Inc.                                                  3.385           $29,917.78                                                                                  $29,917.78
153   Ningbo Seduno Import & Export Co., Ltd.                                 3.409          $134,076.90     211         05/23/2017     $134,076.90                                      $134,076.90
154   One Step Up                                                             3.426            $1,822.32                                                                                   $1,822.23




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155   Oracle America, Inc., Successor in Interest to NetSuite (Oracle)        3.428            $9,811.14     274         06/22/2017       $9,713.89                                        $9,713.89

156   Orion Fashions Inc.                                                     3.429           $18,375.99                                                                                   $18,375.99
157   Palen Kimball, LLC                                                      3.438            $7,218.00     332          7/28/2017       $8,573.76                                         $7,218.00
158   PepperJam                                                               3.445            $5,487.31                                                                                    $5,487.31
159   Pomeroy IT Solutions Sales Company, Inc.                                3.454           $39,125.66     291         06/28/2017      $20,948.56                                        $20,948.56
160   Poof Apparel                                                            3.455            $9,028.44     205          5/19/2017       $5,220.00                                         $4,374.00




                                                                                                                                                          Page 32 of 42
161   Preference Employment Solutions, Inc.                                   3.463            $1,845.16                                                                                    $1,845.16
162   Revere Electric Supply d/b/a Nelson Electric                            3.402           $58,803.82      96         04/19/2017      $58,334.08                                        $58,334.08
163   RGIS, LLC                                                               3.478           $23,851.26     117         05/01/2017      $23,851.26                                        $23,851.26
164   Rosenthal & Rosenthal, Inc.                                                                            136         05/08/2017      $53,234.00                                        $53,234.00
       *GMA Accessories, Inc /Capelli ‐ $7,830.00
       *Jodi Kristopher, LLC/City Triangles ‐ $13,496.40
       *Tempted Apparel Corp ‐ $31,907.60
165   RR Donnelley Logistics Services Worldwide Inc.                          3.492           $15,519.10                                                                                  $15,519.10
166   Shine Imports                                                           3.517            $8,749.64                                                                                   $8,749.64
167   Signorelli, Inc.                                                        3.520            $4,947.43                                                                                   $4,947.43
168   SQA & KC International, S.W.                                            3.534          $117,095.32                                                                                 $117,095.32




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                                                          Class 3 ‐ Effective Date Unsecured Claims
                                                                   SCHEDULE E/F     SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
 NO.                        CREDITOR NAME                                                                     DATE POC FILED                                                                   STORE #
                                                                    CREDITOR #       AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
169   Star of India                                                   3.540           $4,611.88                                                                                   $4,611.88
170   Stoosh                                                          3.560           $3,240.00                                                                                   $3,240.00
171   Stored Value Systems, Inc. a division of Comdata Inc.           3.561           $9,469.45     73          04/10/2017       $9,469.45                                        $9,469.45
172   Sun Ban Fashions Inc.                                           3.567           $6,245.01     275          6/22/2017       $6,368.90                                        $2,988.78
173   Suzhou Hengrun Imp & Exp Co                                     3.569          $26,491.80                                                                                  $26,491.80
174   The CIT Group/Commercial Services, Inc.                                                        38         03/29/2017     $155,608.85                                      $155,608.85
       *Ballet Group ‐ $61,632.75




                                                                                                                                                       Case 17-30112
       *East Lion Corp ‐ $2,570.40
       *Famma Group, Inc. ‐ $35,915.10
       *IKEDDI Imports ‐ $4,009.00
       *Kash Apparel ‐ $45,676.60
       *Poof Apparel ‐ $4,008.00
       *Stony Apparel ‐ $1,797.00
 175 TRC Master Fund LLC (R.J. Acquisition, d/b/a The Ad Art          3.584          $58,205.43     329         07/17/2017      $58,205.43                                        $58,205.43
      Company)




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 176 TRC Master Fund LLC (Icon Eyewear)                               3.273          $85,334.66                                                                                  $85,334.66
 177 Tyco Integrated Security, LLC                                                                  60          04/03/2017       $1,664.88                                        $1,664.88
 178 United Parcel Service, Inc.                                      3.597         $198,803.62     318         07/01/2017     $183,000.00                                      $183,000.00
 179 Veritiv Operating Co.                                            3.607           $2,365.00     201         05/08/2017       $2,365.00                                        $2,365.00
 180 UPS Supply Chain Solutions                                       3.599           $3,727.03                                                                                   $3,727.03




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 181 West Coast Trucking, Inc.                                        3.625           $3,005.00                                                                                   $3,005.00
 182 Westcoast Warehousing LLC                                        3.626           $6,414.75                                                                                   $6,414.75
 183 Westman Champlin Koehler                                         3.628           $9,012.90                                                                                   $9,012.90
UTILITY COMPANIES
 184 Ameren Missouri                                                  3.36            $1,603.34     14          03/17/2017       $1,753.41                                         $1,753.41
 185 Avista Utilities                                                 3.61            $1,514.39     320         07/05/2017       $1,631.34                                         $1,631.34
 186 CenturyLink Communications, LLC f/k/a Qwest Communications       3.119           $1,694.72      70         04/10/2017       $2,000.89                                         $2,000.89




                                                                                                                                                 Page 33 of 42
      Company, LLC
 187 City of Peru                                                     3.137           $1,533.16                                                                                    $1,533.16
 188 Dayton Power and Light Company                                   3.168           $1,271.67     293         06/28/2017       $2,298.87                                         $2,298.87
 189 Duke Energy                                                      3.185           $1,695.33                                                                                    $1,695.33
 190 Mon Power                                                        3.380           $1,219.50     325         07/07/2017       $1,214.95                                         $1,214.95
 191 Montana‐Dakota Utilities Co.                                     3.381           $1,411.65     83          04/10/2017       $2,336.70                                         $2,336.70
 192 Northern States Power Company, a Minnesota Corporation,          3.642           $4,445.99     18          03/20/2017      $14,505.46                                        $14,505.46
      d/b/a Xcel Energy
 193 Northwestern Energy                                               3.415          $1,680.50                                                                                    $1,680.50
 194 Ohio Edison                                                       3.422           $944.61      324         07/07/2017        $251.85                                           $251.85
 195 Qwest Corporation dba CenturyLink QC                         3.120 and 3.121     $2,684.99      79         04/10/2017       $3,013.29                                         $3,013.29




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                                           Class 3 ‐ Effective Date Unsecured Claims
                                                  SCHEDULE E/F      SCHEDULED      PROOF OF                       POC CLAIM                                      ALLOWED CLAIM
 NO.                       CREDITOR NAME                                                       DATE POC FILED                                                                      STORE #
                                                   CREDITOR #        AMOUNT        CLAIM NO.                       AMOUNT                                           AMOUNT
 196 The Illuminating Company                         3.586            $585.43       326         07/07/2017            $280.57                                          $280.57
 197 Waste Management                            3.618 and 3.619      $3,216.93      230         06/01/2017          $3,228.95                                        $3,228.95
 198 Wisconsin Power & Light Company                                                 239         06/12/2017          $3,835.51                                        $3,835.51
TOTALS:                                                            $3,980,604.75                                $14,315,702.51                                    $4,247,276.62




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                                                                                                                                                                                  EXHIBIT C




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                                              EXHIBIT D

                             (Class 4 - Post-Effective Date Unsecured Claims)




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                                             Class 4 ‐ Post‐Effective Date Unsecured Claims
                                             SCHEDULE E/F                        PROOF OF CLAIM
  NO.                        CREDITOR NAME                  SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                              CREDITOR #                              NO.
LANDLORD AND MALLS: CBL
    1  Ashville Mall CMBS LLC                   2.1*                 $4,958.33        181             5/15/2017                $69,416.66                                   $64,458.33     218
    2  Brookfield Square Joint Venture          2.1*                 $5,833.33        194             5/15/2017               $105,688.33                                   $99,855.00     207
    3  Burnsville Center SPE LLC                2.1*                 $6,400.28        192             5/15/2017                $83,203.64                                   $76,803.36     213
    4  CBL/Monroeville LP                       2.1*                 $6,629.53        175             5/15/2017                $86,183.89                                   $79,554.36     181
    5  Cherryvale Mall LLC                      2.1*                 $4,750.00        188             5/15/2017                $62,170.00                                   $57,420.00     143
    6  Dakota Square Mall CMBS LLC              2.1*                     $0.00        185             5/15/2017                 $9,451.00                                    $9,451.00     26
    7  Dakota Square Mall CMBS LLC              2.1*                $16,904.34        187             5/15/2017               $142,926.42                                  $126,679.08      26




                                                                                                                                           Case 17-30112
    8  Frontier Mall Assoc. LP                  2.1*                 $6,713.53        186             5/15/2017                $84,274.43                                   $77,560.90     129
    9  Honey Creek Mall LLC                     2.1*                $15,739.89        190             5/15/2017               $130,255.00                                  $114,515.11     271
   10  Janesville Mall LP                       2.1*                 $4,583.33        191             5/15/2017                $59,583.33                                   $55,000.00      46
   11  JG Winston‐Salem LLC                     2.1*                 $8,496.08        183             5/15/2017               $110,539.12                                  $102,043.04     219
   12  Kirkwood Mall Acquisition LLC            2.1*                $11,063.22        193             5/15/2017                $80,506.22                                   $69,936.69       4
   13  Layton Hills Mall CMBS LLC               2.1*                 $7,945.38        171             5/15/2017                $21,858.18                                   $13,912.80      94
   14  Madison/East Towne LLC                   2.1*                 $9,041.67        189             5/15/2017               $121,063.08                                  $112,021.41      98
   15  Meridian Mall LP                         2.1*                 $6,464.28        182             5/15/2017                $66,287.23                                   $60,276.09      96
   16  Mid Rivers Mall CMBS LLC                 2.1*                 $4,770.25        172             5/15/2017                $63,255.37                                   $58,485.12     234




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   17  Northpark Mall/Joplin LLC                2.1*                $12,711.74        174             5/15/2017                $52,338.56                                   $39,626.82     236
   18  Oak Park Mall LLC                        2.1*                     $0.00        173             5/15/2017               $165,791.30                                  $165,791.30     249
   19  Parkdale Crossing CMBS LLC               2.1*                $15,330.94        184             5/15/2017               $178,342.69                                  $163,011.75     174
   20  South County Shoppingtown LLC            2.1*                     $0.00        179             5/15/2017               $116,699.77                                  $116,699.77     235
   21  South County Shoppingtown LLC            2.1*                $10,794.70        180             5/15/2017                $19,747.98                                    $8,953.28     235
   22  St. Clair Square SPE LLC                 2.1*                 $4,687.50        178             5/15/2017                $60,937.50                                   $56,250.00     141




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LANDLORD AND MALLS: GGP
   23  Apache Mall LLC                          2.1*                $22,684.06        161             5/10/2017               $383,010.53                                  $360,326.47     220
   24  Bellis Fair Mall LLC                     2.1*                                  162             5/10/2017                 $1,510.50                                    $1,510.50     79
   25  Boise Mall LLC                           2.1*                $13,744.90        163             5/10/2017               $178,473.78                                  $164,728.88      74
   26  Columbia Mall LLC                        2.1*                 $6,667.50        159             5/10/2017               $102,472.80                                   $97,255.08     232
   27  Florence Mall LLC                        2.1*                $13,127.61        156             5/10/2017               $118,054.77                                  $104,927.16     148
   28  Fox River Shopping Center LLC            2.1*                     $0.00        155             5/10/2017                 $5,967.04                                    $5,967.04     47




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   29  Fox River Shopping Center LLC            2.1*                     $0.00        146             5/10/2017               $183,927.95                                  $183,927.95      47
   30  GGP‐Four Seasons LP                      2.1*                 $8,151.08        154             5/10/2017                $87,500.50                                   $80,739.00     217
   31  GGP‐Glenbrook LLC                        2.1*                 $1,783.08        144             5/10/2017                $43,303.03                                   $41,519.95     108
   32  GGP‐Grandville LLC                       2.1*                 $8,689.61        153             5/10/2017               $140,626.84                                  $131,937.23      80
   33  Grand Teton Mall LLC                     2.1*                $13,393.03        145             5/10/2017               $126,696.70                                  $113,303.67      71
   34  Greenwood Mall LLC                       2.1*                $14,917.20        142             5/10/2017               $190,474.44                                  $175,557.24      92
   35  Jordan Creek Town Center LLC             2.1*                $19,484.56        141             5/10/2017               $250,013.57                                  $231,375.36      73
   36  Lakeside Mall Property LLC               2.1*                 $9,880.46        143             5/10/2017                $79,566.51                                   $72,760.20     145
   37  North Town Mall LLC                      2.1*                $20,769.61        150             5/10/2017                $86,181.60                                   $65,411.99      75
   38  Oak View Mall LLC                        2.1*                $10,017.80        148             5/10/2017               $128,320.66                                  $118,449.84     221
   39  Oakwood Hills Mall LLC                   2.1*                $14,772.47        149             5/10/2017               $189,518.99                                  $174,746.52     104
   40  PDC‐Eastridge Mall LLC                   2.1*                $13,356.73        157             5/10/2017               $169,092.49                                  $155,735.76     128
   41  River Hills Mall LLC                     2.1*                $15,034.91        147             5/10/2017               $164,814.94                                  $149,780.03      12
   42  Spokane Mall LLC                         2.1*                $14,632.26        152             5/10/2017               $192,325.36                                  $177,693.10      76




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                                                Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                SCHEDULE E/F                        PROOF OF CLAIM
  NO.                        CREDITOR NAME                     SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                 CREDITOR #                              NO.
   43  St. Cloud Mall LLC                          2.1*                $24,456.61        160             5/10/2017               $360,884.99                                  $336,914.61     27
   44  Westroads Mall LLC                          2.1*                 $6,308.33        151             5/10/2017                $69,278.15                                   $63,069.82     61
LANDLORD AND MALLS: SIMON PROPERTY GROUP
   45  Battlefield Mall LLC                        2.1*                $15,403.42        124              5/3/2017           $161,056.16                                      $146,048.52     230
   46  Bloomingdale Court, LLC                     2.1*                    $0.00         295             6/29/2017           $66,000.00                                        $66,000.00     146
   47  Columbia Mall P'Ship                        2.1*                $15,657.89        128              5/3/2017           $204,931.55                                      $191,294.03     167
   48  Empire Mall, LLC                            2.1*                $28,250.45        203             5/18/2017           $373,688.33                                      $345,437.88      11
   49  Greenwood Park Mall LLC                     2.1*                $17,977.76        123              5/3/2017           $235,760.01                                      $219,552.84     112




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   50  Mall at White Oaks LLC                      2.1*                 $9,401.93        121              5/3/2017           $132,188.72                                      $123,731.13     202
   51  Penn Square Mall, LLC                       2.1*                    $0.00         131              5/3/2017          $112,357.08                                       $112,357.08     288
   52  Simon Capital Limited P'Ship                2.1*                $14,205.80        133              5/3/2017           $183,300.64                                      $170,469.60     106
   53  Simon Property Group (TX) LP                2.1*                     $0.00        101             4/20/2017           $100,012.20                                      $100,012.20     177
   54  Simon Property Group (TX) LP                2.1*                     $0.00         99             4/20/2017           $135,118.44                                      $135,118.44     178
   55  Simon Property Group LP                     2.1*                $15,219.47        130              5/3/2017           $199,259.65                                      $185,536.44       2
   56  Simon Property Group LP                     2.1*                 $7,964.38        100             4/20/2017            $99,683.20                                       $95,572.56     109
   57  Simon Property Group LP                     2.1*                $13,641.23        122              5/3/2017           $118,452.71                                      $105,311.51     272
   58  Southdale Center, LLC                       2.1*                    $0.00         129              5/3/2017           $95,000.04                                        $95,000.04     286




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   59  Southridge Limited P'Ship                   2.1*                 $6,224.49        120              5/3/2017            $68,386.66                                       $62,965.33      48
   60  SPG Independence Ctr. LLC                   2.1*                $26,059.59        126              5/3/2017           $297,212.35                                      $271,883.64      54
   61  Woodland Hills Mall LLC                     2.1*                 $9,505.23        127              5/3/2017            $41,189.10                                       $32,532.20     199
LANDLORD AND MALLS: WASHINGTON PRIME
   62  Bloomingdale Court, LLC                     2.1*                     $0.00        295             6/29/2017                $66,000.00                                   $66,000.00     146
   63  Dayton Mall II, LLC                         2.1*                 $7,650.33        255             6/16/2017                $66,614.59                                   $61,537.26     115




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   64  Glimcher MJC LLC                            2.1*                 $9,877.22        254             6/16/2017                $22,669.72                                   $12,792.50      81
   65  Glimcher Northtown Venture LLC              2.1*                $14,019.07        253             6/16/2017               $180,648.39                                  $166,969.61     212
   66  Grand Central Parkersburg LLC               2.1*                 $8,830.33        252             6/16/2017                $30,506.12                                   $21,675.79     183
   67  Lindale Mall LLC                            2.1*                $11,184.27        261             6/16/2017                $49,261.73                                   $49,261.73     137
   68  Mall at Great Lakes LLC                     2.1*                 $9,041.67        248             6/16/2017               $117,993.79                                  $108,952.12      90
   69  Mall at Lima LLC                            2.1*                $13,791.19        249             6/16/2017                $94,855.75                                   $81,064.56     116
   70  Mall at Longview, LLC                       2.1*                 $6,511.32        110             4/25/2017                $87,415.86                                   $80,904.54     179




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   71  Maplewood Mall LLC                          2.1*                $12,379.93        250             6/16/2017               $160,939.09                                  $148,559.16     226
   72  MFC Beavercreek LLC                         2.1*                $15,625.00        251             6/16/2017                $91,406.25                                   $75,781.25     114
   73  Morgantown Commons LP                       2.1*                $14,038.23        260             6/16/2017                $82,899.26                                   $70,174.96     184
   74  Muncie Mall LLC                             2.1*                $13,985.79        259             6/16/2017               $151,457.68                                  $140,143.73     110
   75  Northwoods Shopping Center LLC              2.1*                 $8,342.97        256             6/16/2017               $109,883.17                                  $101,540.20     203
   76  SM Mesa Mall LLC                            2.1*                $12,154.93        257             6/16/2017                $97,721.66                                   $85,566.73     167
   77  SM Rushmore Mall LLC                        2.1*                $13,996.42        258             6/16/2017               $181,090.31                                  $167,093.89      18
   78  Southern Park Mall LLC                      2.1*                 $7,500.00        265             6/16/2017               $100,125.00                                   $92,625.00     117
   79  West Ridge Mall LLC                         2.1*                 $8,034.18        262             6/16/2017               $106,135.14                                   $98,100.96     255
LANDLORD AND MALLS: MISC.
   80  Amarillo Mall LLC                           2.1*                 $1,414.70        166             5/11/2017                      $43,747.99                             $42,333.29     171
   81  Birchwood Mall LLC                          2.1*                 $4,200.52        287             6/26/2017                       $4,559.07                                $358.55     223
   82  C. Michelle Panovich as Court Receiver      2.1*                 $4,583.33        243             6/15/2017                      $64,421.29                             $59,837.96      51
   83  Cache Valley LLC                            2.1*                     $0.00        283             6/26/2017                      $84,102.39                             $84,102.39      88




                                                                                                                                              Desc Ma
                                                  Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                  SCHEDULE E/F                        PROOF OF CLAIM
  NO.                        CREDITOR NAME                       SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                   CREDITOR #                              NO.
   84   Central Mall Realty Holding LLC              2.1*                 $7,719.11        118              5/1/2017               $372,389.29                                  $364,670.18     251
   85   Colony Square Mall LLC                       2.1*                 $5,967.13        197             5/16/2017                $63,768.24                                   $57,801.11     152
   86   Conestoga Mall 2002 LLC                      2.1*                 $6,976.17        316              7/1/2017                $88,525.33                                   $81,549.16      65
   87   Crossroads Mall 1999 LLC                     2.1*                 $4,662.87        317              7/1/2017                $22,300.63                                   $17,637.76     132
   88   Fort Smith Mall LLC                          2.1*                $11,299.31        167             5/11/2017               $151,720.41                                  $140,421.10     210
   89   Frenchtown Square Partnership                2.1*                     $0.00        226              6/2/2017                $51,046.80                                   $51,046.80     275
   90   Great Plains Clinic Med. Enterpr. LLC        2.1*                 $5,237.23        140              5/9/2017                $69,563.35                                   $64,326.12      19
   91   Kennedy Mall Ltd                             2.1*                     $0.00        228              6/2/2017               $139,971.89                                  $139,971.89     138




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   92   Macerich South Plains LP                     2.1*                $11,564.95        310             6/30/2017               $150,477.60                                  $138,912.65     170
   93   Magic Valley Mall LLC                        2.1*                 $7,506.21        294             6/29/2017                $98,761.72                                   $91,482.52      72
   94   Newgate Mall Equities LLC                    2.1*                $14,823.40        319              7/3/2017               $173,440.80                                  $158,987.40      78
   95   North Platte Assoc. LP                       2.1*                 $3,243.59         7              3/17/2017                 $3,725.95                                      $482.36      69
   96   Ohio Valley Mall Company                     2.1*                     $0.00        224              6/2/2017               $107,145.63                                  $107,145.63     100
   97   PR Valley View LP                            2.1*                $14,402.60        107             4/24/2017               $160,312.91                                  $157,402.19     105
   98   Renaissance Partners I LLC                   2.1*                     $0.00        311             6/30/2017               $163,330.99                                  $163,330.99     165
   99   Rimrock Owner LP                             2.1*                $18,299.46        302             6/29/2017               $278,913.46                                  $260,614.00      15
  100 RPI Turtle Creek Mall LLC                      2.1*                $10,001.51        286             6/26/2017               $141,602.09                                  $131,600.58     209




                                                                                                                                                Doc 610
  101 Silver Lake Mall LLC                           2.1*                 $6,449.94        288             6/26/2017                $86,733.18                                   $80,283.24      13
  102 Southern Hills Mall LP                         2.1*                $26,905.51        313             6/30/2017               $403,910.80                                  $382,746.80      28
  103 Southgate Mall Associates LLP                  2.1*                $12,099.91        312             6/30/2017                $51,288.99                                   $51,288.99     126
  104 ST Mall Owner LLC                              2.1*                     $0.00        307             6/30/2017                $88,282.22                                   $88,282.22     122
  105 Star‐West Gateway LLC                          2.1*                $13,155.84        301             6/29/2017               $291,138.40                                  $277,982.56      60
  106 Taubman Auburn Hills Assoc LP                  2.1*                $28,291.02        169             5/12/2017               $122,570.08                                  $111,602.88      49




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  107 Taubman Auburn Hills Assoc LP                  2.1*                     $0.00        170             5/12/2017                 $9,105.18                                    $9,105.18      49
  108 The Marketplace                                2.1*                 $5,575.00        164             5/10/2017                $55,404.00                                   $49,829.00     185
  109 Urbanical Manhattan Town Center LLC            2.1*                $11,886.89        218             5/24/2017               $142,642.68                                  $130,755.79     254
TAXING AUTHORITY CLAIMS
  110 Arkansas: Sebastian County Tax Collector       2.231                    $0.00         17           03/20/2017                       $747.08                                   $560.31     210
  111 Arkansas: Washington County Tax Collector      2.285                    $0.00        116           05/01/2017                       $629.80                                   $498.61     209
  112 Colorado: El Paso County Treasurer                                                                                                  $757.41                                   $568.06     164




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  113 Colorado: Mesa County Treasurer                                                                                                     $511.20                                   $383.40     167
  114 Colorado: Pueblo County Treasurer                                                                                                 $3,025.66                                 $2,269.25     165
  115 Idaho: Bonneville County Treasurer              2.19                    $0.00        21            03/20/2017                       $800.34                                   $333.48      71
  116 Idaho: Kootenai County Treasurer               2.141                    $0.00        210           05/19/2017                        $90.75                                    $68.06      13
  117 Idaho: Twin Falls County Treasurer                                                                                                   $10.40                                     $8.06      72
  118 Idaho: Ada County Treasurer                                                                                                         $612.38                                   $459.29      74
  119 Illinois Dept. of Employment Security          2.111                    $0.00        362                                          3/6/2018                                    $100.00
  120 Indiana: Allen County Treasurer                 2.5                     $0.00        195           05/16/2017                       $772.80                                   $547.37     108
  121 Indiana: County of Dubois                      2.67                     $0.00        200                                        05/15/2017                                  $1,896.67
  122 Kansas: Saline County Treasurer                                                                                                      $44.60                                    $33.45     251
  123 Kansas: Ellis County Treasurer                                                                                                      $183.92                                   $137.94     214
  124 Louisiana Dept of Revenue                                                                                                                                                  $14,195.67
  125 Michigan: Meridian Charter Township            2.157                    $0.00        165           05/10/2017                                        $561.10                  $420.83     96
  126 Michigan: City of Sterling Heights                                                                                                                   $504.84                  $378.63     145




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                                                              Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                              SCHEDULE E/F                        PROOF OF CLAIM
NO.                          CREDITOR NAME                                   SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                               CREDITOR #                              NO.
127   Michigan: City of Sterling Heights                                                                                                               $88.81                                    $66.61     145
128   Michigan: Charter Township of Flint                                                                                                             $214.50                                   $160.88     276
129   Michigan: City of Auburn Hills                                                                                                                  $977.88                                   $692.67      49
130   Michigan: City of Grandville                                                                                                                  $1,710.37                                 $1,282.78      80
131   Michigan: City of Auburn Hills                                                                                                                  $527.19                                   $373.43      49
132   Michigan: Frenchtown Charter Township                                                                                                         $1,386.89                                 $1,040.17     275
133   Michigan: Charter Township of Flint                                                                                                             $126.05                                    $94.54     276
134   Missouri: Collector for County of Buchanan                                                                                                       $48.33                                    $36.25     233




                                                                                                                                                            Case 17-30112
135   Missouri: Jasper County Collector                                                                                                                $65.38                                    $49.04     236
136   Missouri: St. Louis County Treasurer                                                                                                            $288.76                                   $216.57     235
137   Missouri: Greene County Treasurer                                                                                                               $216.92                                   $162.69     230
138   Missouri: Boone County Collector of Revenue                                                                                                     $752.45                                   $564.34     232
139   Missouri: Jackson County Collector                                                                                                              $604.65                                   $453.49      54
140   Missouri: St. Charles Collector of Revenue                                                                                                    $1,433.66                                 $1,075.25     234
141   Montana: Yellowstone County Treasurer                      2.303                    $0.00        334           08/07/2017                       $163.09                                   $115.52      15
142   Montana: Butte‐Silver Bow Treasurer                                                                                                             $110.48                                    $82.86      35
143   Montana: Missoula County Clerk                                                                                                                  $216.59                                   $153.42     126




                                                                                                                                                            Doc 610
144   North Carolina: Guilford County Tax Department                                                                                                $2,660.12                                 $2,106.02     217
145   North Carolina: Forsyth County Tax Collector                                                     361              3/5/2018                    $2,275.22                                 $1,813.98     219
146   North Carolina: Buncombe County Tax Department                                                                                                $1,404.15                                 $1,111.67     218
147   Nebraska: Madison County Treasurer                                                                                                               $65.94                                    $49.46      68
148   Nebraska: Hall County Treasurer                                                                                                                 $223.14                                   $167.36      65
149   Nebraska: Buffalo County Treasurer                                                                                                               $19.38                                    $14.54     66




                                                                                                                                        Document
                                                                                                                                        Filed 03/21/18 Entered 03/21/18 13:05:43
150   New Mexico: Taxation & Revenue Department                  1.191                    $0.00        278                                        06/23/2017                                    $209.27
151   New Mexico: Taxation & Revenue Department                  2.191                    $0.00        278                                        06/23/2017                                    $163.69
152   New York: Worker's Compensation Board                                                                                                                                                     $513.67
153   Ohio: State of Ohio                                                                                                                                                                     $2,667.35
154   Ohio: Regional Income Tax Agency                                                                                                                                                          $242.95
155   Oklahoma: Tulsa County Treasurer                                                                                                                       $1,623.00                        $1,217.25     199
156   Oklahoma: Garfield County Treasurer                                                                                                                    $1,171.00                          $878.25




                                                                                                                                                      Page 39 of 42
157   Department of the Treasury ‐ Internal Revenue Service      2.12                     $0.00        72            04/10/2017                              $7,208.74                        $5,331.56     199
158   Tennessee Department of Revenue                            2.263                    $0.00        309           07/03/2017                       $10,810.00                                            190
159   Tennessee: Montgomery County Trustee                                                                                                               $220.00                               $165.00
160   Tennessee: Murfreesboro City Tax Collector                                                                                                          $17.00                                 $12.75
161   Tennessee: Rutherford County Trustee                                                                                                                $38.00                                 $28.50     83
162   Tennessee: Washington County Tax Collector                                                                                                         $106.12                                 $79.59     82
163   Tennessee: Johnson City Recorder                                                                                                                    $84.00                                 $63.00     82
164   Texas: Lubbock Central Appraisal District                  2.148                    $0.00     9 and 343         3/10/2017                        $1,558.46                              $1,168.85     81
                                                                                                                     & 10/13/17
165   Texas: Taxing Districts Collected by Potter County         2.217                    $0.00    22 and 344           3/20/17                              $3,238.09                        $2,428.57     81
                                                                                                                   & 10/27/2017
166   Texas: Smith County                                        2.238                    $0.00    28 and 348         3/24/2017                                        $415.06                  $328.60     179
                                                                                                                     & 11/27/17




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                                                                 Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                                 SCHEDULE E/F                        PROOF OF CLAIM
  NO.                          CREDITOR NAME                                    SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                                  CREDITOR #                              NO.
  167   Texas: Jefferson County                                     2.129                    $0.00    91 and 349         4/17/2017                              $1,800.08                        $1,350.06     170
                                                                                                                         & 12/4/17
  168   Texas: El Paso County Treasurer                             2.271                    $0.00         92           04/17/2017                              $1,153.06                        $1,153.06
  169   Texas: Tom Green County Appraisal District                  2.268                    $0.00        196           05/16/2017                              $1,400.00                        $1,050.00     173
  170   Texas: Tyler Independent School District                                                      336 and 345        8/18/2017                               $757.41                          $599.64      178
                                                                                                                         & 11/2/17
  171   Texas: Midland Central Appraisal District                                                                                                               $1,151.07                          $965.06     176
  172   US Customs Service                                                                                                                                                                     $180,367.00




                                                                                                                                                               Case 17-30112
  173   Washington: Benton County Treasurer                         2.16                     $0.00        95            04/18/2017                                $365.20                          $124.96     163
  174   Wisconsin: City of Brookfield                                                                                                                           $1,737.38                        $1,563.06     264
  175   Wisconsin: City of Madison Treasurer                                                              346           11/13/2017                              $1,562.96                        $1,172.22      98
  176   Wisconsin: City of LaCrosse                                                                                                                               $681.57                          $511.18     105
  177   Wisconsin: City of Eau Claire                                                                                                                             $508.12                          $359.92     104
  178   Wisconsin: Brown County Treasurer                                                                                                                       $1,576.00                        $1,182.00     106
  179   Wisconsin: City of Wausau                                                                                                                                 $192.36                          $144.27      51
  180   Wisconsin: Town of Grand Chute                                                                                                                            $169.17                          $126.88      47
  181   Wisconsin: Village of Greendale, Milwaukee City                                                                                                           $443.96                          $332.97      48




                                                                                                                                                               Doc 610
  182   Wisconsin: Village of Ashwaubenon, Green Bay                                                                                                            $1,607.52                        $1,205.64     106
  183   Wisconsin: Fond Du Lac County Treasurer                                                                                                                   $612.65                          $459.49
  184   Wisconsin: City of Janesville                                                                                                                             $397.04                          $297.78      46
  185   West Virginia: Wood County Treasurer                                                                                                                    $1,063.30                          $797.48     183
  186   West Virginia: Monongalia County Treasurer                                                                                                                $556.81                          $278.41     183
  187   Wyoming: Natrona County Treasurer                           2.184                    $0.00        12            03/13/2017                                $224.72                          $168.54     128




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                                                                                                                                           Filed 03/21/18 Entered 03/21/18 13:05:43
  188   Wyoming: Larimore County Treasurer                                                                                                                        $354.07                          $265.55     129
MISC.
  189   American Solutions for Business                             3.39                                  267           05/18/2017                              $6,280.15                        $6,280.15
  190   Anderson Bottrell Sanden & Thompson                         3.45                  $292.50                                                                                                 $292.50
  191   BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.      3.308               $63,869.33        137           05/08/2017                       $80,536.85                             $16,667.52
  192   Bottrell Family Investments, LP                                                               304 and 341        6/30/2017                $215,328.92                                  $215,328.92
                                                                                                                          amended




                                                                                                                                                         Page 40 of 42
                                                                                                                           10/4/17
  193   Bottrell Family Investments, LP                                                                   285           06/26/2017                        $3,588.40                              $3,588.40
  194   Contempo Limited                                            3.152               $22,032.05    37 and 340        03/28/2017                       $23,519.19                              $1,487.14
  195   Diamond B Companies, Inc.                                   3.174                                 280           06/26/2017                        $2,082.25                              $2,082.25
  196   Euler Hermes N.A. (Aimee Lynn)                              3.42                 $5,285.53        330           07/19/2017                        $5,412.00                                $126.47
        Euler Hermes N. A. Agent for Active USA Inc. Claim           3.19                $2,825.04         45           03/31/2017                        $3,060.00                                $234.96
  197   000409289
  198   General Information Services                                3.23                 $3,559.00        168           05/12/2017                  $3,615.00                                       $56.00
  199   GreatAmerica Financial Services Corporation                                                       221           05/26/2017                $330,298.54                                  $330,298.54
  200   Guru Knits, Inc.                                            3.248                $1,212.75        306           06/30/2017                 $17,013.00                                   $17,013.00
  201   H. E. Neumann Company                                       3.249                  $196.10        322           07/06/2017                    $832.10                                      $636.00
  202   JC Security LLC                                             3.289                  $165.90        219           05/25/2017                    $717.15                                      $551.25
  203   Jenna Barton                                                3.292               $18,000.00                                                                                              $18,000.00
  204   Jiangsu Guotai Huasheng Industrial Co., Ltd.                3.296               $95,044.10        206           05/19/2017                       $95,206.10                                $162.00




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                                                                      Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                                        SCHEDULE E/F                           PROOF OF CLAIM
NO.                          CREDITOR NAME                                                SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                                         CREDITOR #                                 NO.
205   Jiangsu Guotai International Group Guomao Co., Ltd                   3.297                  $59,065.00       207             05/19/2017         $88,714.53                                          $29,649.53
206   Just Julez Inc.                                                      3.309                   $8,367.24        84             04/11/2017          $8,538.00                                             $170.76
207   Katherine Baber                                                                                              315             07/01/2017      UNLIQUIDATED
208   Liaoning Chengda Co Ltd.                                             3.129                 $275,351.35      56/333            3/30/2017;       $305,731.15                                         $305,731.15
                                                                                                                                  amended on
                                                                                                                                     7/31/2017
209   Lozier Corporation                                                   3.343                  $26,708.34        298            06/29/2017               $204,290.18                                  $189,779.62
210   Marco Technologies LLC                                          Schedule G ‐ 2.38                             269            05/22/2017               $125,042.55                                   $83,689.39




                                                                                                                                                                         Case 17-30112
211   Palen Kimball, LLC                                                   3.438                   $7,218.00        332             7/28/2017                 $8,573.76                                    $1,355.76
212   Pomeroy IT Solutions Sales Company, Inc.                                                                      290            06/28/2017                $84,790.35                                   $84,790.35
213   Sales Floor Live LLC                                                 3.497                   $4,760.00        284            06/26/2017                 $4,760.00                                    $4,760.00
214   Sales Floor Live, LLC                                                                                         303            06/30/2017                 $7,495.70                                    $7,495.70
215   State of California Department of Industrial Relations ‐ Aide        3.541                  $74,135.00                                                                                              $74,153.00
      Guadalupe Martinez‐Miranda
      (Case No. 633‐125331/OV)
216   State of California Department of Industrial Relations ‐ Alba        3.543                 $152,164.00                                                                                             $152,164.00
      Luz Hernandez Lopez




                                                                                                                                                                         Doc 610
      (Case No. WC‐CM‐182134)
217   State of California Department of Industrial Relations ‐ Diego       3.547                 $181,831.40                                                                                             $181,831.40
      Perez‐Meza
      (Case No. WC‐CM‐157416)
218   State of California Department of Industrial Relations ‐             3.542                  $83,738.50                                                                                              $83,738.50
      Gabriel Catalan Vargas




                                                                                                                                                     Document
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      (Case No. WC‐CM‐208859)
219   State of California Department of Industrial Relations ‐ Gloria      3.552                  $70,917.50                                                                                              $70,917.50
      Cendejas De Cachu
      (Case No. WC‐CM‐183664)
220   State of California Department of Industrial Relations ‐ Isabel      3.556                  $44,070.76                                                                                              $44,070.76
      Valazquez‐Guerra (Case No. WC‐CM‐158918)
221   State of California Department of Industrial Relations ‐ Ismael      3.554                 $105,470.00                                                                                             $105,470.00




                                                                                                                                                                   Page 41 of 42
      Veliz‐Herrera
      (Case No. WC‐CM‐156085)
222   State of California Department of Industrial Relations ‐ Jose        3.557                 $189,190.50                                                                                             $189,190.50
      Miguel Rodriguez (Case No. WC‐CM‐159253)
223   State of California Department of Industrial Relations ‐ Josue       3.548                 $114,149.50                                                                                             $114,149.50
      Garcia‐Cruz (Case No. WC‐CM‐156087)
224   State of California Department of Industrial Relations ‐             3.553                  $77,389.00                                                                                              $77,389.00
      Justina Cortes Reyna
      (Case No. WC‐CM‐159267)
225   State of California Department of Industrial Relations ‐             3.550                 $105,470.00                                                                                             $105,470.00
      Lucitana Chavac
      (Case No. WC‐CM‐156084)




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                                                                        Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                                        SCHEDULE E/F                        PROOF OF CLAIM
   NO.                          CREDITOR NAME                                          SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                                         CREDITOR #                              NO.
  226    State of California Department of Industrial Relations ‐          3.544               $71,201.00                                                                                              $71,201.00
         Magdalena Antonio
         (Case No. WC‐CM‐159398)
   227 State of California Department of Industrial Relations ‐            3.546               $99,131.50                                                                                              $99,131.50
         Magdalena Solis
         (Case No. WC‐CM‐157222)
   228 State of California Department of Industrial Relations ‐            3.555               $61,017.00                                                                                              $61,017.00
         Manuel Demetrio Sosa




                                                                                                                                                                      Case 17-30112
         (Case No. WC‐CM‐184641)
   229 State of California Department of Industrial Relations ‐ Maria      3.545               $69,132.00                                                                                              $69,123.00
         de Monserrat Leyva‐Gonzalez
         (Case No. WC‐CM‐159228)
   230 State of California Department of Industrial Relations ‐            3.551              $201,552.50                                                                                             $201,552.50
         Miriam Perez
         (Case No. WC‐CM‐156086)
   231 State of California Department of Industrial Relations ‐            3.549               $38,816.40                                                                                              $38,816.40
         Patricia Gomez‐Arellano




                                                                                                                                                                      Doc 610
         (Case No. WC‐CM‐158973)
   232 TGC, LP                                                             D 2.1            $5,248,777.43        281            6/26/2017        $5,248,777.43                                      $5,248,777.43
   233 The CIT Group/Commercial Services, Inc.                                                                   38            03/29/2017         $155,608.85                                          $17,409.90
LATE OR DUPLICATIVE
   234 Quincy Mall Inc.                                                    2.1*                     $0.00         34            3/28/2017            $8,856.35                                          $8,856.35     147
   235 Cheryl Maxwell                                                      3.1                                   338           08/25/2017              $58.76                                              $58.76




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                                                                                                                                                  Filed 03/21/18 Entered 03/21/18 13:05:43
   236 Guru Knits, Inc.                                                                                          308           07/03/2017           $17,013.00                                         $17,013.00
   237 Lindsay Doyle                                                        3.1                                  342           10/12/2017              $200.00                                            $200.00
   238 Mary Jo Crandell                                                     3.1                                  355            1/16/2018               $32.22                                             $32.22
   239 Melissa Clement                                                      3.1                                  331           07/24/2017              $25.00                                              $25.00
   240 Nellie Ouellet                                                       3.1                                  339            9/18/2017              $100.00                                            $100.00
   241 Project 28 Clothing LLC                                             3.467                $1,896.00         67           04/07/2017            $3,577.50                                          $1,681.50
   242 Planet Gold Clothing Co, Inc. (Golden Touch)                        3.237                                 328           07/18/2017            $1,782.00                                          $1,782.00




                                                                                                                                                                Page 42 of 42
   243 Ranae Wiggins                                                        3.1                                  354             1/4/2018              $100.00                                            $100.00
   244 Trina Anderson                                                       3.1                                  356             2/6/2018               $50.00                                             $50.00
   245 Jaclyn Mize                                                          3.1                                  357            1/22/2018              $150.00                                            $150.00
   246 Patricia Ann Draper                                                  3.1                                  358            1/23/2018               $50.00                                             $50.00
   247 Jessica Wegner                                                       3.1                                  359            2/13/2018              $150.00                                            $150.00
   248 Jennifer Brettschneider                                              3.1                                  360            2/16/2018               $52.08                                             $52.08
 TOTALS:                                                                                    $8,602,433.04                                       $20,552,157.76                                     $20,920,219.13




                                                                                                                                                                                                                EXHIBIT D



                                                                                                                                                                      Desc Ma
